Case 2:18-cv-00924-PD   Document 15-2   Filed 05/03/18   Page 1 of 72




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Case 2:18-cv-00924-PD   Document 15-2   Filed 05/03/18   Page 2 of 72




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Case 2:18-cv-00924-PD   Document 15-2   Filed 05/03/18   Page 3 of 72




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Case 2:18-cv-00924-PD   Document 15-2   Filed 05/03/18   Page 4 of 72




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Case 2:18-cv-00924-PD   Document 15-2   Filed 05/03/18   Page 5 of 72



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Case 2:18-cv-00924-PD   Document 15-2   Filed 05/03/18   Page 6 of 72


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Case 2:18-cv-00924-PD   Document 15-2   Filed 05/03/18   Page 10 of 72
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Case 2:18-cv-00924-PD    Document 15-2   Filed 05/03/18   Page 11 of 72

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                  Case 2:18-cv-00924-PD                     Document 15-2               Filed 05/03/18             Page 12 of 72

r             COURT OF COMMON PLEAS OF PHILADELPHIA COUNTY

                                                                                         Docket Number: CP-51-CR-0003485-2016
                                                                                                                CRIMINAL DOCKET
                                                                          EXHIBIT B                                                        Court Case


                                                         Commonwealth of Pennsylvania
                                                                                                                                             Page 1of15
                                                                          v.
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                                                             ·-~~'JktNf,0~11\i~Ntfa;l.'J~·:·
Judge Assigned: Brandeis-Roman, Tracy                                      Date Filed: 04108/2016              Initiation Date: 04/08/2016
OT_I';!: N 999084-2                 LOTN:                                  Originating Docket No: MC-51-CR-0006146-2016
!nit12.Ussuing Authority: William Austin Meehan Jr.                        Final Issuing Authority:
Arresting Agency: Philadelphia Pd                                          Arresting Officer: Lee, Eric
CornplainVlncidenl #: 1619018046-0006146
Case Local Number Type(sl                                                  Case Local Number(sl
       Originating Docket Number                                                MC-51-CR-0006146-2016
        District Control Number                                                 1619018046
        Originating Document Number                                             1619018046-0006146

                                                                 ~ELATED CASES

Related Docket No                 Related Case Caption                               Related Court               Association Reason
Related
CP-51-MD-0005866-2016             In Re: Efunnuga, Olutokunbo                       CP-01-51-Crim                Related

                                                            •"$l'ATIJSJf".llF;(JBMAtlQN
Case Status:      Active                     Status Date           Processing Status                                       Arrest Date:     03/02/2016
                                             11/15/2016            Awaiting Trial
                                             07/06/2016            Awaiting Trial
                                             04/28/2016            Awaiting Pre-Trial Conference
                                             04/12/2016            Awaiting Formal Arraignment
                                             04/08/2016            Awaiting Filing of Information




CPCMS 9082                                                                                                                             Printed 03/02/2018

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                Case 2:18-cv-00924-PD                        Document 15-2              Filed 05/03/18          Page 13 of 72

             COURT OF COMMON PLEAS OF PHILADELPHIA COUNTY
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                                                                                         Docket Number: CP-51-CR-0003485-2016
                                                                                                               CRIMINAL DOCKET
                                                                                                                                         Court Case

                                                          Commonwealth of Pennsylvania
                                                                                                                                           Page 2of15
                                                                      v.
                                                                Shawn Mobley
                                                                ··t.tAtENDA8 EVENtS.
 Csi~f! C9lf!nd9r            SQh!i!dYle       filfil1           Room                       Judge Name                             Schedule
 EventT~Qe                   Stsir::t Dsite   Time                                                                                Status
 Formal Arraignment          04/28/2016       11:00 am          1104                                                              Scheduled
 Pre-Trial                   05/24/2016       8:00 am           705                       Judge Rayford A. Means                  Continued
 Conference
 Pre-Trial                   07/06/2016       8:00 am           705                       Judge Rayford A. Means                  Scheduled
 Conference
 Trial                       08/19/2016       8:00 am           705                       Judge Rayford A. Means                  Continued
 Trial                       10/07/2016       8:00 am           705                       Judge Rayford A. Means                  Scheduled
 Bench Warrant               11/10/2016       12:30 pm          403                       Senior Judge Harvey W.                  Scheduled
 Hearing                                                                                  Robbins
 Judge Only Bench            11/15/2016       9:00 am           705                       Judge Rayford A. Means                  Scheduled
 Warrant Hearing
 Trial                       01/09/2017       9:00 am           704                       Judge Vincent N. Melchiorre             Continued
 Trial                       02/15/2017       9:00 am           704                       Judge Vincent N. Melchiorre             Continued
 Trial                       03/07/2017       9:00 am           704                       Judge Vincent N. Melchiorre             Continued
 Trial                       04/03/2017       9:00 am           704                       Judge Vincent N. Melchiorre             Continued
 Trial                       04/10/2017       9:00 am           704                       Judge Vincent N. Melchiorre             Scheduled
 Status                      04/17/2017       9:00 am           704                       Judge Vincent N. Melchiorre             Scheduled
 Motions Hearing             04/28/2017       9:00 am           704                       Judge Vincent N. Melchiorre             Scheduled
 Trial                       05/08/2017       9:00 am           704                       Judge Vincent N. Melchiorre             Continued
 Trial                       05/19/2017       9:00 am           804                       Judge Stella Tsai                       Continued
 Trial                       06/19/2017       9:00 am           804                       Judge Stella Tsai                       Continued
 Trial                       09/13/2017       9:00 am           804                       Judge Stella Tsai                       Continued
 Trial                       10/24/2017       9:00 am           804                       Judge Stella Tsai                       Continued
 Trial                       12/12/2017       9:00 am           804                       Judge Stella Tsai                       S:::haduled
 Status                      12/19/2017       9:00 am           804                       Judge Stella Tsai                       Scheduled
 Trial                       01/25/2018       9:00 am           804                       Judge Tracy Brandeis-Roman              Continued
 Trial                       01/25/2018       9:00 am           804                       Judge Stella Tsai                       Moved
 Trial                       02/07/2018       9:00 am           804                       Judge Tracy Brandeis-Roman              Continued
 Trial                       03/13/2018       9:00 am           804                       Judge Tracy Brandeis-Roman              Scheduled




CPCMS 9082                                                                                                                           Printed: 03/02/2018

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                    Case 2:18-cv-00924-PD                     Document 15-2                Filed 05/03/18           Page 14 of 72

               COURT OF COMMON PLEAS OF PHILADELPHIA COUNTY
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                                                                                           Docket Number: CP-51-CR-0003485-2016
                                                                                                                  CRIMINAL DOCKET
                                                                                                                                            Court Case

                                                          Commonwealth of Pennsylvania
                                                                                                                                              Page 3of15
                                                                             v.

                                                       •'1~lf~~---~-~1:ivP:,1r•::;:;y1•·':•
Date Of Birth:                    07/20/1977              City/State/Zip: LANSDOWNE, PA 19050

Alias Name
EFFUNUGA,OLUTOKUBO
Efunnuga, Olukorede
Efunnuga, Olutokunbo
Efunnuga, Olutokunbo
Mobley, Shawn 0.

                                                               CASE PARTICIPANTS
Participant Type                                    Name
Defendant                                           Mobley, Shawn

                                                               ... BA(L INFORMATION
Mobley, Shawn                                                                                                                     Nebbia Status: None

     Bail Action                                  Bail Type                   Percentage            Amount
                                                                                                                 Bail Posting Status         Posting Date

     Set                          0310312016      Monetary                        10.00%        $10,000.00
     Revoke and Forfeit           10/07/2016      Monetary                        10.00%        $10,000.00
     Reinstate                    11 /15/2016     Monetary                        10.00%        $10,000.00
                                                                                                                 Posted                        03/03/2016


              Orig Seq.                                                                                               Offen§e Pt.      OTN
              1                       35 § 780-113               Manufacture, Delivery, or Possession With            03/01/2016       N 999084-2
                                                                 Intent to Manufacture or Deliver
 2            2                       35 § 780-113               Int Poss Contr Subst By Per Not Reg                  03/01/2016       N 999084-2
 3            3                       35 § 780-113               Poss Of Marijuana                                    03/01/2016       N 999084-2
 4            4                       35 § 780-113               Use/Poss Of Drug Paraph                              03/01/2016       N 999084-2
                                                   DJSPOSITlO.N SENTENCING/PENALTIES·
Disposition
  Case Event                                                           Disposition Date                    Final Disposition
    Sequence/Description                                                 Offen§e Di§po§ition                    ~~
      Sentencing Judge                                                     Sentence Pate                          Credit For Time Served
         Sentence/Diversion Program Type                                      lncarceration/Diver§ionarv Period      Start Date
                   Sentence Condition§
Lower Court Proceeding (generic)
  Preliminary Hearing                                                  04/07/2016                               Not Final
    1 I Manufacture, Delivery, or Possession With Intent to              Held for Court                                         35 § 780-113
    Manufacture or Deliver
    2 / Int Poss Contr Subst By Per Not Reg                              Held for Court                                         35 § 780-113
CPCMS 9082                                                                                                                              Printed: 03/0212018

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                  Case 2:18-cv-00924-PD                    Document 15-2                      Filed 05/03/18                      Page 15 of 72

              COURT OF COMMON PLEAS OF PHILADELPHIA COUNTY

                                                                                               Docket Number: CP-51-CR-0003485-2016
                                                                                                                               CRIMINAL DOCKET
                                                                                                                                                     Court Case

                                                         Commonwealth of Pennsylvania
                                                                                                                                                       Page 4of15
                                                                              v.
                                                                    Shawn Mobley
                                                  DllPQlITlc>t!~1U£~'fliff¢1N~/PENALttJ:S''
Disposition
  Case Event                                                          Disposition Date                   Final Disposition
    Sequence/Description                                                Offense Disposition                   Grade     Section
      Sentencing Judge                                                    Sentence Date                         Credit For Time Served
         Sentence/Diversion Program Type                                    Incarceration/Diversionary Period       Start Date
                Sentence Conditions
      3 I Poss Of Marijuana                                             Held for Court                                                     35 § 780-113
      4 I Use/Poss Of Drug Paraph                                       Held for Court                                                     35 § 780-113
Proceed to Court                   Defendant Was Not Present
    Information Filed                                                 04/12/2016                                              Not Final
       1 I Manufacture, Delivery, or Possession With Intent to          Held for Court                                                     35§780-113
       Manufacture or Deliver
       2 / Int Poss Contr Subst By Per Not Reg                          Held for Court                                                     35 § 780-113
      3 I Poss Of Marijuana                                             Held for Court                                                     35 § 780-113
      4 I Use/Poss Of Drug Paraph                                       Held for Court                                                     35 § 780-113
    COMMONWEALTH INFORMATION                                              <:<·,A'fitDRNEY
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                     Philadelphia County District Attorney's                  Name:         Berto M. Elmore
                     Office                                                                 Private
                     Prosecutor                                               Supreme Court No:     057956
    Supreme Court No:                                                         Rep. Status:          Active
    Phone Number(s):                                                          Phone Number(s):
        215-686-8000      (Phone)                                                 215-235-6834       (Phone)
    Address:                                                                  Address:
        3 South Penn Square                                                       2857 N Garnet St
        Philadelphia, PA 19107                                                    Philadelphia, PA 19132
                                                                              Representing: Mobley, Shawn


                                                                 · '' :;t;~NTR1ES.
Sequence Number                CP Filed Date                 Document Date                                         Filed By
                               04/08/2016                                                                          Court of Common Pleas -
                                                                                                                   Philadelphia County
    Held for Court

                               04/12/2016                                                                          Williams, R Seth
    Information Filed

3                              04/28/2016                                                                          Court of Common Pleas -
                                                                                                                   Philadelphia County
    Hearing Notice


CPCMS 9082                                                                                                                                       Printed: 03/0212018

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                  Case 2:18-cv-00924-PD                     Document 15-2               Filed 05/03/18             Page 16 of 72

              COURT OF COMMON PLEAS OF PHILADELPHIA COUNTY
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                                                                                         Docket Number: CP-51-CR-0003485-2016
                                                                                                                 CRIMINAL DOCKET
                                                                                                                                           Court Case

                                                         Commonwealth of Pennsylvania
                                                                                                                                             Page 5of15
                                                                     v.


Sequence Number
4                              05/24/2016                                                               Court of Common Pleas -
                                                                                                        Philadelphia County
    Hearing Notice

5                           05/24/2016                                                                  Means, Rayford A.
    Order Granting Motion for Continuance
      LISTED FOR PRE-TRIAL
      DEFENSE REQUEST CONTINUED
      FUTHER INVESTIGATION NEEDED
      MOTIONS TO BE FILED
      NCO: 7/6/16 RM 705

      HON.R.MEANS; ADA:DESANTIS; ATTY:BARATZ; DRT:SIDBERRY; CRT.CLERK:D.BROOKS

3                              07/06/2016                                                               Court of Common Pleas -
                                                                                                        Philadelphia County
    Hearing Notice

4                           07/06/2016                                                                  Means, Rayford A.
    Order Granting Motion for Continuance
      Judge: R. Means, ADA: J. Kim, Atty: A. Baratz, ORT: D. Sidberry, Clerk: R. Moore
      Offer Rejected
      Listed for Waiver Trial
      Next Court Date: 08/19/2016, Room 705

4                              08/19/2016                                                               Court of Common Pleas -
                                                                                                        Philadelphia County
  Hearing Notice
Philadelphia County District Attorney's
Office
  08/19/2016               eService                                                            Served


5                           08/19/2016                                                                  Means, Rayford A.
    Order Granting Motion for Continuance
      LISTED FOR TRIAL
      DEFENSE REQUEST CONTINUED
      COUNSEL JUST ENTERED
      NCO: 10/7/16 RM 705

     HON.R.MEANS; ADA:BURKE; ATIY:ELMORE; DRT:SIDBERRY; CRT.CLERK:D.BROOKS
Philadelphia County District Attorney's
Office

CPCMS 9082                                                                                                                             Printed: 03/02/2018

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                  Case 2:18-cv-00924-PD                     Document 15-2               Filed 05/03/18             Page 17 of 72

              COURT OF COMMON PLEAS OF PHILADELPHIA COUNTY

                                                                                         Docket Number: CP-51-CR-0003485-2016
                                                                                                                 CRIMINAL DOCKET
                                                                                                                                           Court Case

                                                         Commonwealth of Pennsylvania
                                                                                                                                             Page 6 of 15
                                                                            v.
                                                                    Shawn Mobley
                                                                       ENTRtES
Sequence Number                CP Filed Date                  Document Date                             Filed By
Service To                                           Service By

    Issue Date                 Service Type                      Status Date                   Service Status
    08/19/2016                 eService                                                        Served


2                              10/07/2016                                                               Means, Rayford A.
    Order Granting Motion to Revoke/Release and Forfeit Bail - Mobley, Shawn


5                              11/10/2016                                                               Court of Common Pleas -
                                                                                                        Philadelphia County
    Hearing Notice


6                              11/10/2016                                                               Robbins, Harvey W.
    Bench Warrant to Remain
      Judge Only bench warrant to stand.
      Next Court Date: 1V15/16 Room 705.
      Judge: Harvey W. Robbins ADA: Denise Spadaccini PD: Pat Mandracchia DRT: Steve Albergotti Court Clerk:
      Jaime Falcone

4                              11/15/2016                                                               Court of Common Pleas -
                                                                                                        Philadelphia County
    Hearing Notice


5                              11/15/2016                                                               Means, Rayford A.
    Order Granting Motion to Re-Instate Previously Set Bail - Mobley, Shawn

6                           11/15/2016                                                                  Means, Rayford A.
    Order Granting Motion to Lift Bench Warrant
      Judge: R. Means, ADA: J. Kim, Atty: B. Elmore, ORT: D. Sidberry, Clerk: R. Moore
      Bench Warrant Lifted. Bail Reinstated.
      Offer Rejected
      Listed for Waiver Trial
      Next Court Date: OV0912017, Room 704

4                              01/09/2017                                                               Court of Common Pleas -
                                                                                                        Philadelphia County
    Hearing Notice




CPCMS 9082                                                                                                                             Printed: 03/02/2018

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                  Case 2:18-cv-00924-PD                     Document 15-2                Filed 05/03/18            Page 18 of 72

              COURT OF COMMON PLEAS OF PHILADELPHIA COUNTY
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                                                                                         Docket Number: CP-51-CR-0003485-2016
                                                                                                                 CRIMINAL DOCKET
                                                                                                                                           Court Case

                                                         Commonwealth of Pennsylvania
                                                                                                                                             Page 7of15



Sequence Number                CP Filed Date                  Document Pate                             Filed By
5                          01/09/2017                                                                   Melchiorre, Vincent N.
    Defense Request for Further Investigation
      Defense Request for Further Investigation; Commonwealth ready on call;
      Time ruled excludable;

      Atty. Berto M. Elmore
      ADA: Jessica Chung
      Steno: Gianna Parise
      Court Clerk: Lula Lewis room 704
      NCO 2/15/17 in room 704

                          02/15/2017                                                                   Melchiorre, Vincent N.
    Defense Request For Continuance To File Motion
      Defendant in custody at Currarr-Fromhold Correctional Facility

      Commonwealth ready on call
      Defense request to file motion
      Trial scheduled
      Time ruled excludable
      Next Court Date: 3/7 /17 room 704

      Hon. Vincent N. Melchiorre
      ADA: Katherine Tonneman, Defense: Berto Elmore, Steno: Kim Towarnicki, Clerk: Patricia Kriebel

5                              02/15/2017                                                              Court of Common Pleas -
                                                                                                       Philadelphia County
    Hearing Notice

                           03/02/2017                                                                  Elmore, Berto M.
    Omnibus Pre-Trial Motion
       Omnibus Pre-Trial Motion filed on behalf of*.




CPCMS 9082                                                                                                                             Printed: 03/02/2018
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                  Case 2:18-cv-00924-PD                     Document 15-2               Filed 05/03/18             Page 19 of 72

              COURT OF COMMON PLEAS OF PHILADELPHIA COUNTY

                                                                                         Docket Number: CP-51-CR-0003485-2016
                                                                                                                 CRIMINAL DOCKET
                                                                                                                                           Court Case

                                                         Commonwealth of Pennsylvania
                                                                                                                                             Page 8 of 15
                                                                     v.
                                                               Shawn Mobley
                                                                     "(:NTRll::S
Sequence Number                CP Filed Pate                  Document Date                             Filed By
                          03/07/2017                                                                    Melchiorre, Vincent N.
    Defense Request For Continuance Attorney Unavailable
      Defendant in custody at Curran-Fromhold Correctional Facility

      Commonwealth ready
      Defense request, attorney on trial
      Trial scheduled
      Time ruled excludable
      Must be tried defense
      Attorney ordered attached next listing
      Next Court Date: 5/8/17 room 704

      Hon. Vincent N. Melchiorre
      ADA: Katherine Tonneman, Defense: Berto Elmore, Steno: Kim Towarnicki, Clerk: Patricia Kriebel

2                           03/07/2017                                                    Melchiorre, Vincent N.
    Counsel Attached for Trial
      The Court orders Berto M Elmore attached for a 1 day Waiver Trial on 5/8/2017 in Courtroom 704


6                              03/07/2017                                                              Court of Common Pleas -
                                                                                                       Philadelphia County
    Hearing Notice

4                              03/08/2017                                                              Court of Common Pleas -
                                                                                                       Philadelphia County
    Hearing Notice

                               03/17/2017                                                              Philadelphia County Office of Judicial
                                                                                                       Records
    Full Docket Sheet Sent to Inmate

                               03/31/2017                                                              Philadelphia County District Attorney's
                                                                                                       Office
    Motion to Correct the Trial Record
        Motion to Correct the Trial Record filed on behalf of Commonwealth Of Pennsylvania.




CPCMS 9082                                                                                                                             Printed: 03/02/2018

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                  Case 2:18-cv-00924-PD                     Document 15-2               Filed 05/03/18             Page 20 of 72

              COURT OF COMMON PLEAS OF PHILADELPHIA COUNTY
                                                                   ,Y;DOC:KET ,
                                                                                         Docket Number: CP-51-CR-0003485-2016
                                                                                                                 CRIMINAL DOCKET
                                                                                                                                           Court Case

                                                         Commonwealth of Pennsylvania
                                                                                                                                             Page 9of15



Sequence Number                CP Filed Date                  Document Date                             Filed By
                          04/03/2017                                                                    Melchiorre, Vincent N.
    Defense Request For Continuance For Attorney To Be Appointed
      Request for status of attorney
      Commonwealth motion for Court recusal denied
      Motion to suppress evidence denied
      Defense demand jury trial
      Defense counsel B. Elmore do not handle jury trials

      NCO: 4/10/17 Room 704

      Hon. Vincent N. Melchiorre ADA: K. Tonneman ATTY: B. Elmore STENO: K. Towarniski CLERK: K. Dandy

5                              04/03/2017                                                              Court of Common Pleas -
                                                                                                       Philadelphia County
    Hearing Notice

3                              04/10/2017                                                              Court of Common Pleas -
                                                                                                       Philadelphia County
    Hearing Notice

4                         04/10/2017                                                                    Melchiorre, Vincent N.
    Defense Request For Continuance For Further Investigation
      NCO: 4/17/17 Room 704 for status of Motion to Withdraw jury demand request.                No witnesses needed.

      Judge Vincent Melchiorre, ADA Kate Tonneman, Atty Berto Elmore, Steno Kim Towarnicki, Ct Clerk FMiller

      Custody - CFCF

                           04/13/2017                                                                  Elmore, Berto M.
    M6tion to Reconsider
        Motion to Reconsider Denial of Suppression Motion

3                              04/17/2017                                                              Court of Common Pleas -
                                                                                                       Philadelphia County
    Hearing Notice




CPCMS 9082                                                                                                                             Printed: 03/02/2018
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                  Case 2:18-cv-00924-PD                     Document 15-2                 Filed 05/03/18          Page 21 of 72

              COURT OF COMMON PLEAS OF PHILADELPHIA COUNTY

                                                                                          Docket Number: CP-51-CR-0003485-2016
                                                                                                                CRIMINAL DOCKET
                                                                                                                                           Court Case

                                                         Commonwealth of Pennsylvania
                                                                                                                                            Page 10 of 15
                                                                             v.
                                                                    Shawn Mobley
                                                                i;~?L ;;;,tfljftlQ/,J·'
Sequence Number                CP Filed Date                  Document Date                            Filed By
4                         04/17/2017                                                                   Melchiorre, Vincent N.
    Defense Request For Continuance For Further Investigation
      Any Motions will be heard on 4/2 V17 Room 704
      Next Court Date: 4/28/17 Room 704
      Defendant in custody- CFCF

      Hon. Melchiorre
      Ada: Lori Edelman      Defense Atty: B.Elmore Steno: K. Towarnicki Clerk: L.Perez

                               04/21/2017                                                              Mobley, Shawn
    Motion for Recusal
        Motion for Recusal filed on behalf of *.

                           04/28/2017                                                                  Melchiorre, Vincent N.
    Order Denying Motion for Suppression
      Motion for reconsideration of motion to supress is denied

      Hon. Melchiorre
      Ada: Z. Wynkoop Defense Atty: B. Elmore Steno: Kim Towarnicki Clerk: L. Perez

2                         04/28/2017                                                                   Melchiorre, Vincent N.
    Court Recuses from Case
      All pre-trial motions heard
      Case to be listed as waiver trial
      Waiver of jury trial form is filled out and complete.
      Next court date: 5/19/17 Room 804

      Defendant in custody- CFCF

      Hon. Melchiorre
      Ada: Z. Wynkoop Defense Atty: B. Elmore Steno: Kim Towarnicki Clerk: L. Perez

7                              04/28/2017                                                              Court of Common Pleas -
                                                                                                       Philadelphia County
    Hearing Notice

                            05/19/2017                                                    Tsai, Stella
    Counsel Attached for Trial
      The Court orders Berto M Elmore attached for a 1 day WAiver Tiral on 6/19/2017 in Courtroom 804




CPCMS 9082                                                                                                                             Printed: 03/02/2018

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                  Case 2:18-cv-00924-PD                    Document 15-2                Filed 05/03/18            Page 22 of 72

              COURT OF COMMON PLEAS OF PHILADELPHIA COUNTY
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                                                                                         Docket Number: CP-51-CR-0003485-2016
                                                                                                                CRIMINAL DOCKET
                                                                                                                                          Court Case

                                                         Commonwealth of Pennsylvania
                                                                                                                                           Page11of15
                                                                            v.

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Sequence Number                CP Filed Date                 Document Date                             Filed By

5                              05/19/2017                                                              Court of Common Pleas -
                                                                                                       Philadelphia County
    Hearing Notice

6                         05/19/2017                                                                   Tsai, Stella
    Defense Request For Continuance For Further Investigation
      JUDGE: STELLA TSAI, ADA: ZACHARY WYNKOOP, DEF ATTY: BERTO ELMORE, STENO: JANICE VANORE,
      CT CLERK: WANDA CHAVARRIA

      MATTER LISTED TODAY FOR A WAIVER TRIAL. DEFENSE REQUEST, ATTORNEY NOT
      READY. COMMONWEALTH READY - COMMONWEALTH OBJECTION TO ANOTHER DATE.
      MUST BE TRIED-DEFENSE - NO FURTHER CONTINUANCE. TIME EXCLUDABLE. ATTORNEY
      ATTACHED FOR TRIAL. WAIVER TRIAL SET FOR 6/19/2017, ROOM 804.

      (Custody-C.F.C.F.)

7                           05/19/2017                                  Tsai, Stella
    Counsel Attached for Trial
      ATTORNEY BERTO ELMORE IS ATTACHED FOR ONE (1) DAY WAIVER TRIAL SET FOR 6/19/2017, ROOM 804


                        06/19/2017                                                 Tsai, Stella
    Commonwealth Request For Continuance Defendant Not Brought Down From Out of State/Federal Custody
      Defendant In Custody.
      Defendant Not Brought Down From Federal Custody.
      Commonwealth To Prepare Writ.
      Defense Ready.
      Commonwealth Ready On Call Otherwise.
      Next Court Date:9/13/17 Room 804

      Hon Stella Tsai
      ADA:Seamus Meintel
      Defense Attorney: Berto Elmore
      Steno:Janice Vanore
      Court Clerk;Shante Fleet

5                              06/19/2017                                                              Court of Common Pleas -
                                                                                                       Philadelphia County
    Hearing Notice




CPCMS 9082                                                                                                                             Printed: 03/02/2018

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                  Case 2:18-cv-00924-PD                     Document 15-2               Filed 05/03/18             Page 23 of 72




                                                                                         Docket Number: CP-51-CR-0003485-2016
                                                                                                                 CRIMINAL DOCKET
                                                                                                                                           Court Case

                                                         Commonwealth of Pennsylvania
                                                                                                                                            Page 12 of 15
                                                                     v.
                                                               Shawn Mobley
                                                                       ENTRIES.
Sequence Number                CP Filed Date                  Document Date                             Filed By
                        09/13/2017                                                                     Tsai, Stella
    Commonwealth Request For Continuance For Expert
      Defendant In Custody.
      Defense Ready.
      Chemist Unavailable - One In Training;One In Labor.
      Next Court date: 10/24/17 Room 804

      Hon Stella Tsai
      ADA:Zach Wynkoop
      Defense Attorney: Berto Elmore
      Steno:Aubrey McNally
      Court Clerk:Shante Fleet

5                              09/13/2017                                                              Court of Common Pleas -
                                                                                                       Philadelphia County
    Hearing Notice

                           10/24/2017                                                                  Tsai, Stella
    Court Request For Continuance Defendant Not Brought Down From State Custody
      COMMONWEALTH WAS READY.
      DEFENSE READY.
      DEFENDANT WAS NOT BROUGHT DOWN FROM FEDERAL CUSTODY; ADA TO PREPARE WRIT.
      NEXT COURT DATE 12/12/17 IN ROOM 804.ATTY. BERTO M. ELMORE, PD CATHERINE EAGAN, STENO
      AUBREY MCNALLY, COURT CLERK ERIN WATERS

5                              10/24/2017                                                              Court of Common Pleas -
                                                                                                       Philadelphia County
    Hearing Notice

                            12/05/2017                                                                 Mobley, Shawn
    Miscellaneous Motion Filed
        Supplemental Suppression Motion Request For A Frank's Hearing




CPCMS 9082                                                                                                                             Printed: 03/02/2018
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                  Case 2:18-cv-00924-PD                     Document 15-2               Filed 05/03/18             Page 24 of 72




                                                                                         Docket Number: CP-51-CR-0003485-2016
                                                                                                                 CRIMINAL DOCKET
                                                                                                                                           Court Case

                                                         Commonwealth of Pennsylvania
                                                                                                                                            Page 13 of 15
                                                                            v.
                                                                    Shawn Mobley
                                                                      J;~TIJJ~S: \/,
Sequence Number                CP Filed Date                  Document Date                             Filed By
                        12/12/2017                                                 Byrd, Sandy L.V.
    Commonwealth Request For Continuance Defendant Not Brought Down From Out of State/Federal Custody
      Defendant In Custody - Federal Custody.
      Defendant Not Brought Down. - List For Tuesday Status Of Custody.
      Commonwealth Ready In The Room.
      Time Ruled Excludable.
      Status Date: 12/19/17 Room 804
      Next Court Date:1/25/18 Room 804

      Hon Sandy L.V Byrd
      ADA:Mark Burgmann
      Defense Attorney: Berto Elmore
      Steno:Kim Towarnicki
      Court Clerk: Shante Fleet

4                              12/12/2017                                                              Court of Common Pleas -
                                                                                                       Philadelphia County
    Hearing Notice

7                              12/12/2017                                                              Court of Common Pleas -
                                                                                                       Philadelphia County
    Hearing Notice

                               12/19/2017                                                              Tsai, Stella
    Status Listing
      Defendant In Custody - Federal Custody.
      Defense Motion To Dismiss Denied.
      Trial Date To Remain.
      Must Be Tried Both.
      Next Court Date:1/25/18 Room 804

      Hon Stella Tsai
      ADA:Wyncote
      Defense Attorney: Berto Elmore
      Steno:Kim Towarnicki
      Court Clerk:Shante Fleet

3                              01/03/2018                                                              Court of Common Pleas -
                                                                                                       Philadelphia County
    Hearing Notice




CPCMS 9082                                                                                                                             Printed: 03/02/2018

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                  Case 2:18-cv-00924-PD                     Document 15-2                 Filed 05/03/18           Page 25 of 72

              COURT OF COMMON PLEAS OF PHILADELPHIA COUNTY
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                                                                                          Docket Number: CP-51-CR-0003485-2016
                                                                                                                 CRIMINAL DOCKET
                                                                                                                                           Court Case

                                                         Commonwealth of Pennsylvania
                                                                                                                                            Page 14 of 15
                                                                            v.
                                                                    Shawn Mobley
                                                                       ENTRlliS ·· ;'.·
Sequence Number                CP Filed Date                  Document Date                             Filed By
                           01/25/2018                                                                   Brandeis-Roman, Tracy
    Court Request For Continuance Case is Bifurcated
      Case bifurcated.
      Defendant in Federal custody
      Assistant District Attorney to prepare writ to bring in Defendant
      NCO: 2/7/18 courtroom 804

      Judge Brandies-Roman
      ADA: Mason Maney
      Defense Attorney: Berto Elmore
      Steno: Melissa Belmont
      Clerk: Gary Copestake

5                              01/25/2018                                                               Court of Common Pleas -
                                                                                                        Philadelphia County
    Hearing Notice

                           02/07/2018                                                                   Brandeis-Roman, Tracy
    Court Request For Continuance Defendant Not Brought Down From State Custody
      Defendant In Custody - Federal Custody.
      Defendant Recently Sentenced In Federal Custody.
      Commonwealth To Writ - BOP.
      Bifrurcated Waiver Trial.
      Next Court Date:3/13/18 Room 804

      Hon Tracy Brandeis-Roman
      ADA:Mason Maney
      Defense Attorney: Berto Elmore
      Steno:Melissa Belmont
      Court Clerk: Shante Fleet

5                              02/07/2018                                                              Court of Common Pleas -
                                                                                                       Philadelphia County
    Hearing Notice




CPCMS 9082                                                                                                                             Printed: 03/02/2018
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                Case 2:18-cv-00924-PD                     Document 15-2                Filed 05/03/18             Page 26 of 72

             COURT OF COMMON PLEAS OF PHILADELPHIA COUNTY
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                                                                                       Docket Number: CP-51-CR-0003485-2016
                                                                                                               CRIMINAL DOCKET
                                                                                                                                           Court Case

                                                       Commonwealth of Pennsylvania
                                                                                                                                           Page 15 of 15
                                                                           v.
                                                                  Shawn Mobley
                                                     CA$E FINANCIAL INFORMATION
                Last Payment Date:                                                                                 Total of Last Payment:
  Mobley, Shawn                                          Alis~ssm~nt            Paym~ntli         Adjyi;!tments     Non MQnetsHY                  Tu1fil__
    Defendant                                                                                                           Payments
  Costs/Fees
   Bail Bond (Philadelphia)                                    $10.00                $0.00             -$10.00                $0.00               $0.00

                            Costs/Fees Totals:                 $10.00                $0.00              -$10.00                $0.00              $0.00

                                  Grand Totals:                $10.00                $0.00              -$10.00                $0.00               $0.00

     •• - Indicates assessment is subrogated




CPCMS 9082                                                                                                                             Printed; 03/02/2018

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                  Case 2:18-cv-00924-PD                    Document 15-2               Filed 05/03/18             Page 27 of 72
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         COURT OF COMMON PLEAS OF PHILADELPHIA COUNTY
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                                                                                       Docket Number: CP-51-MD-0005866-2016
                                                                                               MISCELLANEOUS DOCKET
                                                                                                                                          Forfeitures
                                                               EXHIBIT C
                                                          In Re: Olutokunbo Efunnuga
                                                                                                                                              Page 1 of 3



Judge Assigned:                                                           Date Filed: 10/2V2016               Initiation Date: 10/2V2016
OTN:                               LOTN:                                  Originating Docket No:
Initial Issuing Authority:                                                Final Issuing Authority:
Arresting Agency:                                                         Arresting Officer:
ComplainUlncident #:
Case Local Number Type(s)                                                 Case Local Number(s}
         Property Receipt Number                                               3242363

                                                              ; ;]~ELATE[) .CASes. !

Related Docket No               Related Case Caption                                Related Court                Association Reason
Related
CP-51-CR-0003485-2016           Comm. v. Mobley, Shawn                              CP-01-51-Crim                Related

                                                           ';:sTAl.Q$ . INJORMJ\TION:·
Case Status:    Closed                     Status Date           Processing Status
                                           12/01/2017            Completed
                                           10/06/2017            Awaiting Forfeiture Hearing
                                           04/13/2017            Awaiting Pre-Trial Conference
                                           01/17/2017            Awaiting Forfeiture Hearing
                                           12/16/2016            Awaiting Pre-Trial Conference
                                           10/21/2016            Awaiting Disposition



 Case Calendar                Schedule       Start            Room                        Judge Name                               Schedule
 Event Type                   Start Date     Time                                                                                  Status
 Pre-Trial                    01/17/2017      8:00 am         805                                                                  Scheduled
 Conference
 Forfeiture Hearing          04/13/2017       8:00 am         805                                                                  Scheduled
 Pre-Trial                    06/08/2017      8:00 am         805                                                                  Scheduled
 Conferen'::e
 Pre-Trial                   07/14/2017       8:00 am         805                                                                  Scheduled
 Conference
 Pre-Trial                   09/06/2017       8:00 am         805                                                                  Scheduled
 Conference
 Pre-Trial                    10/06/2017      8:00 am        805                                                                   Scheduled
 Conference
 Forfeiture Hearing           12/01/2017      8:00 am        805                                                                   Scheduled




CPCMS 9082                                                                                                                            Printed! 12/12/2017

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                   Case 2:18-cv-00924-PD                     Document 15-2               Filed 05/03/18                Page 28 of 72

              COURT OF COMMON PLEAS OF PHILADELPHIA COUNTY

                                                                                          Docket Number: CP-51-MD-0005866-2016
                                                                                                 MISCELLANEOUS DOCKET
                                                                                                                                            Forfeitures

                                                            In Re: Olutokunbo Efunnuga
                                                                                                                                               Page 2 of 3



    Confinement        Confinement                               Destination                           Confinement                          fililLin_
    Known As Of        Tu®                                       Location                              Reason                               Custody
    11/08/2016         County Jail                               Other Jurisdiction                                                         Yes
                                                        RES~ONDENT l~EORMATION ,.
Date Of Birth:                   07/20/1977              City/State/Zip: Philadelphia, PA 19139

Alias Nam~
EFFUNUGA,OLUTOKUBO
Efunnuga, Olukorede
Efunnuga, Olutokunbo
Mobley, Shawn
Mobley, Shawn 0.

                                                  . >.\~:i:'~i;t;:,,•••~Ase :PARtJP,PANtS;~s·~r:.: %>.t~.
Participant Type                                    ~
Respondent                                          Efunnuga, Olutokunbo

                                                                         .. ;~(;~~TI'O~N.~~INfq~l'l(lATlq~: :.
                   Philadelphia County District Attorney's                     Name:
                   Office
                   Prosecutor                                                  Supreme Court No:
    Supreme Court No:                                                          Rep. Status:
    Phone Number(s):                                                           Phone Number(s):
        215-686-8000       (Phone)
    Address:
        3 South Penn Square
        Philadelphia, PA 19107
                        '        ,p
                                                                    . '. ENIR,IES.
Sequence Number                CP Filed Date                  Document Date                                 Filed By
                              10/21/2016                                                                    Unknown Filer
    Motion for Forfeiture of Drugs

                                11/16/2016                                                                  Philadelphia County District Attorney's
                                                                                                            Office
    Civil Forfeiture Praecipe to Reintsate Filed

                              12/14/2016                                                                    Commonwealth of Pennsylvania
    Civil Forfeiture Praecipe to Reintsate Filed

2                              12/16/2016                                                                   Court of Common Pleas -
                                                                                                            Philadelphia County
    Hearing Notice

CPCMS 9082                                                                                                                              Printed; 12/12/2017

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                   Case 2:18-cv-00924-PD                    Document 15-2               Filed 05/03/18             Page 29 of 72
     ·'----------------------------------------------------------------------------------------------....,
           COURT OF COMMON PLEAS OF PHILADELPHIA COUNTY

                                                                                         Docket Number: CP-51-MD-0005866-2016
                                                                                               MISCELLANEOUS DOCKET
                                                                                                                                           Forfeitures

                                                            In Re: Olutokunbo Efunnuga
                                                                                                                                               Page 3 of 3

                                                                      <i,i:ENTRlES
Sequence Number                CP Filed Date                  Document Date                             Filed By


3                               12/16/2016                                                              Commonwealth of Pennsylvania
    Certificate of Service

                               01/30/2017                                                               Philadelphia County District Attorney's
                                                                                                        Office
    Civil Forfeiture Motion for Order of Default

                               02/23/2017                                                               Philadelphia County District Attorney's
                                                                                                        Office
    Civil Forfeiture Affidavit of Service

                             03/02/2017                                                                 Efunnuga, Olutokunbo
    Answer to Petition for Forfeiture

                            12/01/2017                                                                  Brandeis-Roman, Tracy
    Order Granting Motion to Dismiss
      Hon. Tracy Brandeis-Roman
      The Commonwealth's Forfeiture Peition relating to Property Receipt #3242363 is Withdrawn/Dismissed. The
      property ($301.00 USC) shall be returned to the owner.
      ADA/Jennifer Kralle
      ORT/Nicholas Maier
      Court Clerk/Deborah Creech




CPCMS 9082                                                                                                                             Printed: 12/12/2017

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    Case 2:18-cv-00924-PD           Document 15-2           Filed 05/03/18    Page 30 of 72
           Case 2:08-cr-00542-PD Document 263 Filed 03/16/16 Page 1 of 3
                            United States District Court
                                              for the
           EXHIBIT D
                               Eastern District of Pennsylvania

                                         March 14, 2016

U.S.A. vs. Olutonkunbo Efunnuga                         Case No. 2:08CR000542-003

                         VIOLATION OF SUPERVISED RELEASE

        COMES NOW Tamika L. Baxley U.S. PROBATION OFFICER OF THE COURT
presenting an official report upon the conduct and attitude of Olutonkunbo Efunnuga who was
placed on supervised release by the Honorable Stewart Dalzell sitting in the Court at
Philadelphia. PA, on the 28th day of January 2011. who fixed the period of supervision at three
years. and imposed the general terms and conditions theretofore adopted by the Court and also
imposed special conditions and terms as follows:

ORIGINAL OFFENSE:            Conspiracy to distribute MDMA (Count One), and convicted felon
                             in possession of a firearm (Count Two).

ORIGINAL SENTENCE:           The defendant was committed to the custody of the U.S. Bureau of
                             Prisons for a period of 67 months, followed by three years
                             supervised release. A special assessment of $200.00 was ordered.

SPECIAL CONDITIONS:          The defendant shall pay a fine in the amount of $1,000.00 to be
                             paid in equal annual installments during his term of supervised
                             release.

MODIFICATION OF
CONDITIONS:                  On October 2, 2013, the Court modified the defendant's special
                             conditions to include that the defendant shall refrain from the
                             illegal possession and/or use of drugs and shall submit to urinalysis
                             or other forms of testing to ensure compliance. It is further ordered
                             that the defendant shall participate in drug treatment and abide by
                             the rules and any such program until satisfactorily discharged.

MODIFICATION OF
CONDITIONS:                  On May 22, 2015, the Court modified the defendant's special
                             conditions to include that the defendant shall participate in a
                             mental health program for evaluation and/or treatment and abide by
                             the rules of any such program until satisfactorily discharged.

DATE SUPERVISION
COMMENCED:                   July 1, 2013


DATE SUPERVISION
TERMINATES:                  June 30, 2016
           Case 2:18-cv-00924-PD          Document 15-2         Filed 05/03/18      Page 31 of 72
                Case 2:08-cr-00542-PD Document 263 Filed 03/16/16 Page 2 of 3

RE: Olutonkunbo Efunnuga
Case No. 2:08CR000542-003


      The above probation officer has reason to believe that the supervised releasee has violated the
      terms and conditions of his supervision under such circumstances as may warrant revocation.
      This condition is:

      A.     Standard Condition: The defendant shall not commit another federal, state, or local crime.

             On March 1, 2016, the offender was arrested by the Philadelphia Police Department on
             the following charges: Manufacture, delivery or possession with intent to manufacture or
             deliver-marijuana; intentional possession of a controlled substance by person not
             regulated; and possession of marijuana.

              According to the Philadelphia Police Department Arrest Report, the following events
             occurred: On March 1, 2016, at approximately 10:30 p.m., officers responded to a radio
             call for a person screaming at a home located at 728 N. 63rd Street, Philadelphia, PA.
             Upon arrival, officers were approached by the complainant who stated that her landlord,
             Olutonkunbo Efunnuga, was in the basement attempting to shut the electricity off in her
             building. When approached by the police, the defendant, who referred to the basement as
             his "office," told the officers that he needed to retrieve his keys from the basement.
             When one of the police officers attempted to enter the basement, he was unable to do so
             because the door was padlocked. Another tenant in the building unlocked the basement
             door and the police officers entered. Upon entering the basement, police officers smelled
             the odor of burnt marijuana. At that time, the defendant grabbed a set of keys from a
             bookshelf and told the officers that he would be outside. The defendant then left the
             location, taking the lock and chain that had been used to secure the basement door. While
             the police officers were attempting to secure the basement door, one of the officers was
             checking the basement. He smelled the strong odor of "un-burnt marijuana," and then
             observed a large quantity of new plastic baggies, consistent with the packaging of
             narcotics, and a digital scale on top of a desk. In addition, the officer observed a plastic
             bag that contained a green weed and seed substance, in plain view. One of the detectives
             conducted a records check on the property and it revealed that the defendant is the owner
             of the property. The following items were recovered from the basement: Three zip-lock
             freezer bags, each obtaining a green weed and seed substance-alleged marijuana; one
             silver portable digital scale; and one clear zip-lock bag containing numerous new zip-lock
             bags. The defendant was later arrested and taken into custody without incident.

            The defendant has been charged in Municipal Court of Philadelphia County under Docket
            No.: MC-51-CR-0006146-2016. On March 3, 2016, the defendant posted 10% of the
            $10,000.00 bail set in this case. A Preliminary Hearing is scheduled on March 17, 2016,
            before the Honorable Christine M. Hope.




                                                      2
           Case 2:18-cv-00924-PD           Document 15-2         Filed 05/03/18      Page 32 of 72
                 Case 2:08-cr-00542-PD Document 263 Filed 03/16/16 Page 3 of 3

RE: Olutonkunbo Efunnuga
Case No. 2:08CR000542-003

             On March 8, 2016, this officer questioned the defendant about the new arrest. He
             denied possessing or manufacturing marijuana. He claims that the residence in question
             actually belongs to his brother, who has a name similar to his. Further, he stated that he
             was at his brother's residence that day to complete plumbing work.

             GRADE OF VIOLATION


      PRAYING THAT THE COURT WILL ORDER. ..                        THE ISSUANCE OF A
                                                                   SUMMONS DIRECTING THE
                                                                   NAMED SUPERVISED
                                                                   RELEASEE TO APPEAR AT A
                                                                   REVOCATION HEARING.

                                                            I declare under penalty of perjury that the
                                                            foregoing is true and correct.



                                                                      . IJ . A
                                                            Respectfully,
                                                                      I
                                                                ~\. '-..,/~
                                                                   U
                                                             a rie Riedel
                                                            Supervising U.S. Probation Officer

                                                            Place Philadelphia. PA
                                                            Date March 14. 2016
     TLB
     cc:    Assistant U.S. Attorney
            Defense Attorney
            Defendant


        ORDER OF THE COURT
     Considered and ordered this _..../=6._1"'_ _ __
     day of ~,,_,,£.,                 , 20 1 t,,. and ordered
     filed and made part of the records in
     the above case.




                                                       3
          Case
United States   2:18-cv-00924-PD
              District                  Document
                       Court Eastern District        15-2 Filed 05/03/18
                                              of Pennsylvania                Page 33 of Page
                                                                                        72 1of40


                                                                                  CLOSED,lNTERP
                                            EXHIBIT E
                        United States District Court
               Eastern District of Pennsylvania (Philadelphia)
       CRIMINAL DOCKET FOR CASE#: 2:08-cr-00542-PD All Defendants
                             Internal Use Only


 Case title: USA v. PRIL et al                               Date Filed: 09/10/2008
 Magistrate judge case number: 2:08-mj-O 1115                Date Terminated: 02/17/2011


Assigned to: HONORABLE PAUL S.
DIAMOND

Defendant (1)
 CHHUNPRIL                                      represented by DEFENDER ASSOCIATION OF
 TERMINATED: 0211712011                                        PHILADELPHIA
 also known as                                                 FEDERAL COURT DIVISION
 CAPTAIN WOLF                                                  CURTIS CENTER BUILDING
 TERMINATED: 0211712011                                        601 WALNUT ST.
                                                               SUITE 540 WEST
                                                               PHILADELPHIA, PA 19106
                                                               215-928-1100
                                                               Fax:215-928-1112
                                                               LEAD ATTORNEY
                                                               ATTORNEY TO BE NOTICED
                                                               Designation: Public Defender or
                                                               Community Defender Appointment

                                                              JOSEPH D. MANCANO
                                                              Cedrone & Mancano, LLC
                                                              123 South Broad Street
                                                             Suite 810
                                                             PHILADELPHIA, PA 19109
                                                             215-925-2500
                                                             Fax: 215-925-6471
                                                             Email: jdm@cedrone-mancano.com
                                                             LEAD ATTORNEY
                                                             ATTORNEY TO BE N011CED
                                                             Designation: CJA Appointment

                                                              THOMAS IVORY
                                                              1515 MARKET ST #1200
                                                              PHILADELPHIA, PA 19102
                                                              215-315-7781
                                                              Email: thomas@ivorylaw.com



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         Case
United States   2:18-cv-00924-PD
              District                  Document
                       Court Eastern District        15-2 Filed 05/03/18
                                              of Pennsylvania                Page 34 of Page
                                                                                        72 2 of 40


                                                               TERMINATED: 0310512009
                                                               LEAD ATTORNEY
                                                               ATTORNEY TO BE NOTICED
                                                               Designation: CJA Appointment

Pending Counts                                                 Disposition
                                                               IMPRISONMENT: 140 MONTHS,
21:846 CONSPIRACY TO
                                                               SUPERVISED RELEASE: 6 YEARS,
DISTRIBUTE MDMA
                                                               FINE: $2000, SPECIAL
(1)
                                                               ASSESSSMENT: $200
                                                               IMPRISONMENT: 120 MONTHS,
18:922(g)(l) CONVICTED FELON IN
                                                               SUPERVISED RELEASE: 6 YEARS,
POSSESSION OF A FIREARM
                                                               FINE: $2000, SPECIAL
(3)
                                                               ASSESSSMENT: $200

Highest Offense Level (Opening)
Felony

Terminated Counts                                              Disposition
None

Highest Offense Level (Terminated)
None

Complaints                                                     Disposition
CONSPIRACY TO DISTRIBUTE
AND TO POSSESS WITH INTENT
TO DISTRIBUTE A SCHEDULE I
CONTROLLED SUBSTANCE, AND
KNOWING AND INTENTIONAL
USE OF A COMMUNICATION
FACILITY TO COMMIT, CAUSE
AND FACILITATE A DRUG
TRAFFICKING OFFENSE, IN
VIOLATION OF TITLE 21:846(a)(l)
AND 843


Assigned to: HONORABLE PAUL S.
DIAMOND

Defendant (2)
TONY NGUYEN                                    represented by DEFENDER ASSOCIATION OF
TERMINATED: 1111712010                                        PHILADELPHIA
                                                              (See above for address)


https://ecf.paed.circ3 .dcn/cgi-bin/DktRpt.pl?l 0301635876322-L _ 1_0-l                   4/10/2018
          Case
United States   2:18-cv-00924-PD
              District                   Document
                       Court Eastern District        15-2 Filed 05/03/18
                                              of Pennsylvania                Page 35 of Page
                                                                                        72 3 of 40

    •
                                                               LEAD ATTORNEY
                                                               ATTORNEY TO BE NOTICED
                                                               Designation: Public Defender or
                                                               Community Defender Appointment

                                                               CAROLINE A. GOLDNER
                                                               CINQUANTO
                                                               1518 WALNUT STREET
                                                               SUITE 807
                                                               PHILADELPHIA, PA 19102
                                                               267-565-7412
                                                               Email: carrie@cgclegal.com
                                                               LEAD ATTORNEY
                                                               ATTORNEY TO BE NOTICED
                                                               Designation: CJA Appointment

                                                               CHRISTIAN J. HOEY
                                                               RUBINO & HOEY, LLC
                                                               50 DARBY ROAD
                                                               PAOLI, PA 19301
                                                               610-647-5151
                                                               Email: cjhoey@hoeylegal.com
                                                               LEAD ATTORNEY
                                                               ATTORNEY TO BE NOTICED
                                                               Designation: CJA Appointment

Pending Counts                                                 Disposition
21:846 CONSPIRACY TO
DISTRIBUTE MDMA                                                FILED UNDER SEAL
(1)

Highest Offense Level (Opening)
Felony

Terminated Counts                                              Disposition
None

Highest Offense Level (Terminated)
None

Complaints                                                     Disposition
CONSPIRACY TO DISTRIBUTE
AND TO POSSESS WITH INTENT
TO DISTRIBUTE A SCHEDULE I
CONTROLLED SUBSTANCE, AND



https://ecf.paed.circ3.dcn/cgi-bin/DktRpt.pl?l 0301635876322-L_ l _ O-l                   4/10/2018
          Case
United States   2:18-cv-00924-PD
              District                   Document
                       Court Eastern District        15-2 Filed 05/03/18
                                              of Pennsylvania               Page 36 of Page
                                                                                       72 4 of 40


KNOWING AND INTENTIONAL
USE OF A COMMUNICATION
FACILITY TO COMMIT, CAUSE
AND FACILITATE A DRUG
TRAFFICKING OFFENSE, IN
VIOLATION OF TITLE 21 :846(a)(l)
AND 843


Assigned to: HONORABLE PAUL S.
DIAMOND

Defendant (3)
OLUTOKUNBOEFUNNUGA                            represented by KENNETH C. EDELIN , JR.
TERMINATED: 0112812011                                       Kenneth Edelin Esq PC
also known as                                                1515 Market Street
SHIZZ                                                        Suite 1200
TERA11NATED: 0112812011                                      PHILADELPHIA, PA 19102
also known as                                                215.592.0499
SHENG                                                        Fax: 215.592.0522
TERMINATED: 0112812011                                       Email: kceesq@gmail.com
                                                             TERMINATED: 0112812011
                                                             LEAD ATTORNEY
                                                             Designation: CJA Appointment

                                                              PAULJ.HETZNECKER
                                                              1420 WALNUT ST
                                                              STE 911
                                                              PHILADELPHIA, PA 19102
                                                              215-893-9640
                                                              Email: phetznecker@aol.com
                                                              LEAD ATTORNEY
                                                              ATTORNEY TO BE NOTICED
                                                              Designation: CJA Appointment

                                                              TARIQ KARIM EL-SHABAZZ
                                                              EL-SHABAZZ & HARRIS LLC
                                                              100 S. BROAD ST.
                                                              SUITE 1525
                                                              PHILADELPHIA, PA 19110
                                                              215-972-7017
                                                              Email: tkes7@aol.com
                                                              TERMINATED: 0211712009
                                                              Designation: Retained

 Pending Counts                                               Disposition
                                                              FILED UNDER SEAL




https://ecf.paed.circ3.dcn/cgi-bin/DktRpt.pl?l 0301635876322-L _ 1_0-1                   4/10/2018
          Case
United States   2:18-cv-00924-PD
              District                   Document
                       Court Eastern District        15-2 Filed 05/03/18
                                              of Pennsylvania              Page 37 of Page
                                                                                      72 5 of 40


21:846 CONSPIRACY TO
DISTRIBUTE MDMA
(1)
18:922(g)(l) CONVICTED FELON IN
POSSESSION OF A FIREARM                                      FILED UNDER SEAL
(2)

Highest Offense Level (Opening)
Felony

Terminated Counts                                            Disposition
None

 Highest Offense Level (Terminated)
None

 Complaints                                                  Disposition
CONSPIRACY TO DISTRIBUTE
AND TO POSSESS WITH INTENT
TO DISTRIBUTE A SCHEDULE I
CONTROLLED SUBSTANCE, AND
KNOWING AND INTENTIONAL
USE OF A COMMUNICATION                                       FILED UNDER SEAL
FACILITY TO COMMIT, CAUSE
AND FACILITATE A DRUG
TRAFFICKING OFFENSE, IN
VIOLATION OF TITLE 21:846(a)(l)
AND 843


 Assigned to: HONORABLE PAUL S.
 DIAMOND

 Defendant (4)
JENNIFER KHOUNSACKNARATH                      represented by DINA CHAVAR
TERMINATED: 0312512010                                       1007 NORTH ORANGE ST 4TH FL
                                                             WILMINGTON, DE 19801
                                                             302-256-0804
                                                             Email: dina@dinachavar.com
                                                             LEAD ATTORNEY
                                                             ATTORNEY TO BE NOTICED
                                                             Designation: Public Defender or
                                                             Community Defender Appointment

                                                             EMILY LYNNE MIRSKY



https://ecf.paed.circ3.dcn/cgi-bin/DktRpt.pl?l 0301635876322-L_ 1_0-l                  4/10/2018
          Case
United States   2:18-cv-00924-PD
              District                  Document
                       Court Eastern District        15-2 Filed 05/03/18
                                              of Pennsylvania                Page 38 of Page
                                                                                        72 6 of 40


                                                               CAFFERTY FAUCHER LLP
                                                               1717 ARCH ST STE 3610
                                                               PHILADELPHIA, PA 19103
                                                               215-864-2800
                                                               Email: emilymirsky@msn.com
                                                               ATTORNEY TO BE NOTICED
                                                               Designation: Retained

                                                               JACK MEYERSON
                                                               MEYERSON & O'NEILL
                                                               1700 MARKET STREET
                                                               SUITE 3025
                                                               PHILADELPHIA, PA 19103
                                                               215-972-1376
                                                               Fax:215-972-0277
                                                               Email:
                                                               jmeyerson@meyersonlawfirm.com
                                                               ATTORNEY TO BE NOTICED
                                                               Designation: Retained

Pending Counts                                                 Disposition
21:846 CONSPIRACY TO
DISTRIBUTE MDMA                                                UNDER SEAL
(1)

Highest Offense Level (Opening)
Felony

Terminated Counts                                              Disposition
None

Highest Offense Level (Terminated)
None

Complaints                                                     Disposition
CONSPIRACY TO DISTRIBUTE
AND TO POSSESS WITH INTENT
TO DISTRIBUTE A SCHEDULE I
CONTROLLED SUBSTANCE, AND
KNOWING AND INTENTIONAL
USE OF A COMMUNICATION
FACILITY TO COMMIT, CAUSE
AND FACILITATE A DRUG
TRAFFICKING OFFENSE, IN




https://ecf.paed.circ3 .dcn/cgi-bin/DktRpt.pl?l 0301635876322-L _ 1_0-1                  4/10/2018
          Case
United States   2:18-cv-00924-PD
              District                   Document
                       Court Eastern District        15-2 Filed 05/03/18
                                              of Pennsylvania              Page 39 of Page
                                                                                      72 7of40


VIOLATION OF TITLE 21:846(a)(l)
AND 843


Assigned to: HONORABLE PAUL S.
DIAMOND

Defendant (5)
DANNYKLOT                                     represented by ANDRES JALON
TERMINATED: 0312512010                                       DEREK SMITH LAW GROUP PLLC
                                                             1845 WALNUT ST SUITE 1601
                                                             PHILADELPHIA, PA 19103
                                                             215-391-4790
                                                             Email: andres@dereksmithlaw.com
                                                             LEAD ATTORNEY
                                                             ATTORNEY TO BE NOTICED
                                                             Designation: CJA Appointment

Pending Counts                                               Disposition
21:846 CONSPIRACY TO
DISTRIBUTE MDMA                                              UNDER SEAL
(1)
 18:922(g)(l) CONVICTED FELON IN
 POSSESSION OF A FIREARM                                     UNDER SEAL
 (4)

 Highest Offense Level (Opening)
 Felony

 Terminated Counts                                           Disposition
 None

 Highest Offense Level (Terminated)
None

 Complaints                                                  Disposition
 CONSPIRACY TO DISTRIBUTE
 AND TO POSSESS WITH INTENT
 TO DISTRIBUTE A SCHEDULE I
 CONTROLLED SUBSTANCE, AND
 KNOWING AND INTENTIONAL
 USE OF A COMMUNICATION
 FACILITY TO COMMIT, CAUSE
 AND FACILITATE A DRUG
 TRAFFICKING OFFENSE, IN


https://ecf.paed.circ3 .dcn/cgi-bin/DktRpt.pl?l 0301635876322-L_1_0-1                 4110/2018
          Case
United States   2:18-cv-00924-PD
              District                  Document
                       Court Eastern District        15-2 Filed 05/03/18
                                              of Pennsylvania                 Page 40 of Page
                                                                                         72 8 of 40


VIOLATION OF TITLE 21 :846(a)(l)
AND 843



Plaintiff
USA                                             represented by ANDREA FOULKES
                                                               U.S. ATTY'S OFFICE
                                                               615 CHESTNUT ST.
                                                               STE. 1250
                                                               PHILA., PA 19106
                                                               215-861-8685
                                                               Email: andrea.foulkes@usdoj.gov
                                                               LEAD ATTORNEY
                                                               ATTORNEY TO BE NOTICED
                                                               Designation: Assistant US Attorney

                                                              DANIEL A. VELEZ
                                                              UNITED STATES ATTORNEY'S
                                                              OFFICE
                                                              615 CHESTNUT STREET
                                                              ONE INDEPENDENCE MALL -
                                                              SUITE 1250
                                                              PHILADELPHIA, PA 19106-4476
                                                              215-861-8454
                                                              Email: daniel. velez@usdoj.gov
                                                              ATTORNEY TO BE NOTICED
                                                              Designation: Assistant US Attorney


 Date Filed           #          Docket Text
 08/2112008         WJ           ARREST Warrant Issued by MAGISTRATE JUDGE TIMOTHY R.
                                 RICE in case as to DANNY KLOT. (lisad,) [2:08-mj-01115] (Entered:
                                 08/21 /2008)
 08/2112008               1 COMPLAINT as to CHHUN PRIL (1), TONY NGUYEN (2),
                            OLUTONKUNBO EFFUNNUGA (3), JENNIFER
                            KHOUNSACKNARATH (4), DANNY KLOT (5). (lisad,) [2:08-mj-
                            01115] (Entered: 08/2112008)
 08/21/2008               '")
                          ~      MOTION AND ORDER AS TO CHHUN PRIL, TONY NGUYEN,
                                 OLUTONKUNBO EFFUNNUGA, JENNIFER
                                 KHOUNSACKNARA TH, DANNY KLOT THAT THIS MATTER IS
                                 SEALED AND IMPOUNDED UNTIL FURTHER ORDER OF THE
                                 COURT OR NOTIFIED BY UNITED STATES ATTORNEYS
                                 OFFICE, ETC. Signed by MAGISTRATE JUDGE TIMOTHY R. RICE
                                 on 8/19/08.8/21108 Entered. (lisad,) [2:08-mj-01115] (Entered:
                                 08/21 /2008)
 08/21/2008               =2.'




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          Case
United States   2:18-cv-00924-PD
              District                  Document
                       Court Eastern District        15-2 Filed 05/03/18
                                              of Pennsylvania                 Page 41 of Page
                                                                                         72 9 of 40


                                Letter from ASUA unsealing the complaint and warrants as to CHHUN
                                PRIL, TONY NGUYEN, OLUTONKUNBO EFFUNNUGA,
                                JENNIFER KHOUNSACKNARA TH, DANNY KLOT (lisad, ) [2:08-
                                mj-01115] (Entered: 08/21/2008)
 08/21/2008          Q          ARREST Warrant Issued by MAGISTRATE JUDGE TIMOTHY R.
                                RICE in case as to OLUTONKUNBO EFFUNNUGA. (lisad,) [2:08-
                                mj-01115] (Entered: 08/21/2008)
 08/21/2008
                     ~          ARREST Warrant Issued by MAGISTRATE JUDGE TIMOTHY R.
                                RICE in case as to TONY NGUYEN. (lisad,) [2:08-mj-01115]
                                (Entered: 08/2112008)
 08/21/2008          Qi.
                                ARREST Warrant Issued by MAGISTRATE JUDGE TIMOTHY R.
                                RICE in case as to JENNIFER KHOUNSACKNARATH. (lisad,)
                                [2:08-mj-01115] (Entered: 08/21/2008)
 08/21/2008                4 NOTICE OF ATTORNEY APPEARANCE DINA CHAVAR appearing
                             for JENNIFER KHOUNSACKNARA TH with Certificate of Service
                                (CHAVAR, DINA) [2:08-mj-01115] (Entered: 08/21/2008)
 08/21/2008          Q          ARREST Warrant Issued by MAGISTRATE JUDGE TIMOTHY R.
                                RICE in case as to CHHUN PRIL. (lisad,) [2:08-mj-01115] (Entered:
                                08/21 /2008)
 08/22/2008                fl First MOTION for PRETRIAL DETENTION by USA as to DANNY
                                KLOT. (FOULKES, ANDREA) [2:08-mj-O 1115] (Entered: 08/22/2008)
 08/22/2008                14   Minute Entry for proceedings held before MAGISTRATE JUDGE
                                TIMOTHY R. RICE: Initial Appearance as to DANNY KLOT held on
                                8/20/08. The Government's Motion for Temporary Detention is Granted.
                                A Detention Hearing and Preliminary Examination are scheduled for
                                8/22/08 at 1:30 P.M. Defender's Association Appointed for Defendant.
                                Signed by Judge Timothy R. Rice. Court Reporter ESR.(lisad,) [2:08-
                                mj-01115] (Entered: 08/22/2008)
 08/22/2008                9    Minute Entry for proceedings held before MAGISTRATE JUDGE
                                TIMOTHY R. RICE: Initial Appearance as to OLUTONKUNBO
                                EFFUNNUGA held on 8/21108. The Government's Motion for
                                Temporary Detention is Granted. A Detention Hearing/Preliminary
                                Examination are set for 8/27/2008 at 1:30 PM in COURTROOM 5B
                                before MAGISTRATE JUDGE L. FELIPE RESTREPO. ATTORNEY
                                KENNETH C. EDELIN, JR for OLUTONKUNBO EFFUNNUGA
                                ADDED IN CASE. Signed by Judge Timothy R. Rice. Court Reporter
                                ESR.(lisad,) [2:08-mj-01115] (Entered: 08/22/2008)
 08/22/2008                10   CJA 23 Financial Affidavit by OLUTONKUNBO EFFUNNUGA
                                (lisad,) [2:08-mj-01115] (Entered: 08/22/2008)
 08/22/2008                ~    First MOTION for PRETRIAL DETENTION by USA as to TONY
                                NGUYEN. (FOULKES, ANDREA) [2:08-mj-01115] (Entered:
                                08/22/2008)
 08/22/2008                7



https://ecf.paed.circ3 .dcn/cgi-bin/DktRpt.pl?l 0301635876322-L_ 1_0-1                      4/10/2018
          Case
United States   2:18-cv-00924-PD
              District                  Document
                       Court Eastern District       15-2 Filed 05/03/18
                                              of Pem1sylvania                Page 42 ofPage
                                                                                        72 10 of 40


                              Minute Entry for proceedings held before MAGISTRATE JUDGE
                              TIMOTHY R. RICE: Initial Appearance as to TONY NGUYEN held on
                              8/20/08. The Government's Motion for Temporary Detention is Granted.
                              A Detention Hearing and Preliminary Examination are scheduled for
                              8/22/08 at 1:30 P.M. ATTORNEY CHRISTIAN J. HOEY for TONY
                              NGUYEN ADDED IN CASE. Signed by Judge Timothy R. Rice. Court
                              Reporter ESR.(lisad,) [2:08-mj-01115] (Entered: 08/22/2008)
 08/22/2008               8 CJA 23 Financial Affidavit by TONY NGUYEN (lisad,) [2:08-mj-
                            01115] (Entered: 08/22/2008)
 08/22/2008              II   Minute Entry for proceedings held before MAGISTRATE JUDGE
                              TIMOTHY R. RICE: Initial Appearance as to JENNIFER
                              KHOUNSACKNARATH held on 8/20/08. The Governemnt and
                              Defensen have agreed to Conditions of Release. See attached Conditions
                              of Release Order. A Preliminary Examination is set for 8/25/2008 at
                              1:30 PM in COURTROOM SB before MAGISTRATE JUDGE L.
                              FELIPE RESTREPO. Signed by Judge Tlmtohy R. Rice. Court
                              Reporter ESR.(lisad,) [2:08-mj-01115] (Entered: 08/22/2008)
 08/22/2008              l1   ORDER SETTING CONDITIONS OF RELEASE AS TO JENNIFER
                              KHOUNSACKNARATH (4) THAT DEFENDANT IS RELEASED
                              ON BAIL IN THE AMOUNT OF $100,000 O/R WITH THE
                              FOLLOWING CONDITIONS AS OUTLINED HEREIN. Signed by
                              MAGISTRATE JUDGE TIMOTHY R. RICE on 8/20/08.8/22/08
                              Entered and Copies Mailed, E-Mailed. (lisad,) [2:08-mj-01115]
                              (Entered: 08/22/2008)
 08/22/2008                   O/R Bond Entered as to JENNIFER KHOUNSACKNARA TH IN
                              AMOUNT OF$ 100,000 (lisad,) [2:08-mj-01115] (Entered:
                              08/22/2008)
 08/22/2008              13   CJA 23 Financial Affidavit by JENNIFER KHOUNSACKNARA TH
                              (lisad,) [2:08-mj-01115] (Entered: 08/22/2008)
 08/26/2008              16 ORDER AS TO DANNY KLOT THAT THE DEFENDANT BE
                            COMMITTED TO THE CUSTODY OF THE ATTORNEY GENERAL
                            FOR CONFINEMENT IN A CORRECTION FACILITY; THAT THE
                            DEFENDANT BE AFFORDED REASONABLE OPPORTUNITY
                            FOR PRIVATE CONSUL TATI ON WITH COUNSEL, ETC. Signed by
                            MAGISTRATE JUDGE TIMOTHY R. RICE on 8/21/08.8/26/08
                            Entered and Copies Mailed, E-Mailed. (lisad,) [2:08-mj-01115]
                            (Entered: 08/26/2008)
 08/26/2008              u Minute Entry for proceedings held before MAGISTRATE JUDGE
                              TIMOTHY R. RICE: Preliminary Examination/Pretrial Detention
                              Hearing as to DANNY KLOT held on 8/20/08. The Defendant
                              stipulated to probable cause and pretrial detention. The Government's
                              Motion for Temporary Detention is Granted. The Defendant is detained
                              pending further proceedings. Signed by Judge Timothy R. Rice.Court
                              Reporter ESR.(lisad,) [2:08-mj-O 1115] (Entered: 08/27 /2008)




https://ecf.paed.circ3.dcn/cgi-bin/DktRpt.pl?l 0301635876322-L _ 1_0-1                     4110/2018
          Case
United States   2:18-cv-00924-PD
              District                  Document
                       Court Eastern District        15-2 Filed 05/03/18
                                              of Pennsylvania                  Page 43 ofPage
                                                                                          72 11of40


 08/26/2008               l1 First MOTION for PRETRIAL DETENTION by USA as to
                               OLUTONKUNBO EFFUNNUGA. (FOULKES, ANDREA) [2:08-mj-
                               01115] (Entered: 08/26/2008)
 08/26/2008               12 Minute Entry for proceedings held before MAGISTRATE JUDGE
                               TIMOTHY R. RICE:Pretrial Detention Hearing/Preliminary
                               Examination as to TONY NGUYEN held on 8/22/08. The Government's
                               Motion for Temporary Detention is Granted. A Detention
                               Hearing/Preliminary Examination are set for 9/3/2008 at 1:30 PM in
                               COURTROOM 5A before MAGISTRATE JUDGE CAROL SANDRA
                               MOORE WELLS. Signed by Judge Timothy R. Rice.Court Reporter
                               ESR.(lisad,) [2:08-mj-01115] (Entered: 08/26/2008)
 08/28/2008               12 Minute Entry for proceedings held before MAGISTRATE JUDGE L.
                               FELIPE RESTREPO: Preliminary Examination/Pretrial Detention
                               Hearing as to OLUTONKUNBO EFFUNNUGA held on 8/27/08. The
                               Defendant stipulated to Probable Cause and Pretrial Detention. Signed
                               by Judge L. Felipe Restrepo. Court Reporter ESR.(mac,) [2:08-mj-
                               01115] (Entered: 08/29/2008)
 08/28/2008               20   W AIYER of Preliminary Examination or Hearing filed by
                               OLUTONKUNBO EFFUNNUGA. (mac,) [2:08-mj-01115] (Entered:
                               08/29/2008)
 08/28/2008               21 ORDER OF DETENTION AS TO OLUTONKUNBO EFFUNNUGA
                               THAT DEFENDANT IS DETAINED PENDING FURTHER
                               PROCEEDINGS, ETC. Signed by MAGISTRATE JUDGE L. FELIPE
                               RESTREPO on 8/27/08.8/29/08 Entered and Copies Mailed, E-Mailed.
                               (mac,) [2:08-mj-01115] (Entered: 08/29/2008)
 08/29/2008          Qj        (Court only) ***Set Interpreter Flag as to (VIETNAMESE) for TONY
                               NGUYEN. (lb,) [2:08-mj-01115] (Entered: 08/29/2008)
 08/29/2008               24   ORDER OF AUTHORIZATION FOR ABOVE-NORMAL PAYMENT
                               OF INTERPRETER AS TO TONY NGUYEN. Signed by
                               MAGISTRATE JUDGE TIMOTHY R. RICE on 8/27/08.9/2/08 Entered
                               and Copies Mailed, E-Mailed. (mac,) [2:08-mj-01115] (Entered:
                               09/02/2008)
 08/29/2008               22 Minute Entry for proceedings held before MAGISTRATE JUDGE L.
                               FELIPE RESTREPO: Preliminary Examination as to JENNIFER
                               KHOUNSACKNARATH held on 8/28/08. The Defendant stipulated to
                               Probable Cause. Signed by Judge L. Felipe Restrepo.Court Reporter
                               ESR.(mac, ) [2:08-mj-O 1115] (Entered: 08/29/2008)
 08/29/2008               23   WAIYER of Preliminary Examination or Hearing filed by JENNIFER
                               KHOUNSACKNARATH. (mac,) [2:08-mj-01115] (Entered:
                               08/29/2008)
 09/03/2008               27   CJA 20 AS TO DANNY KLOT: APPOINTMENT OF ATTORNEY
                               ANDRES JALON for DANNY KLOT. Signed by MAGISTRATE
                               JUDGE TIMOTHY R. RICE on 8/20/08. 9/3/08 Entered. (mac, ) [2:08-
                               mj-01115] (Entered: 09/03/2008)



https://ecf.paed.circ3 .dcn/cgi-bin/DktRpt. pl?l 0301635876322-L_ 1_0-1                      4/10/2018
          Case
United States   2:18-cv-00924-PD
              District                  Document
                       Court Eastern District        15-2 Filed 05/03/18
                                              of Pennsylvania                Page 44 ofPage
                                                                                        72 12 of 40


 09/03/2008               26   CJA 20 AS TO OLUTONKUNBO EFFUNNUGA: APPOINTMENT
                               OF ATTORNEY KENNETH C. EDELIN, JR for OLUTONKUNBO
                               EFFUNNUGA. Signed by MAGISTRATE JUDGE TIMOTHY R.
                               RICE on 8/21/08.9/3/08 Entered. (mac,) [2:08-mj-01115] (Entered:
                               09/03/2008)
 09/03/2008               25   CJA 20 AS TO TONY NGUYEN: APPOINTMENT OF ATTORNEY
                               CAROLINE A. GOLDNER CINQUANTO for TONY NGUYEN.
                               Signed by MAGISTRATE JUDGE TIMOTHY R. RICE on
                               8/22/08.9/2/08 Entered. (mac,) [2:08-mj-01115] (Entered: 09/03/2008)
 09/08/2008               28   Minute Entry for proceedings held before MAGISTRATE JUDGE
                               JACOB P. HART: Preliminary Examination/Pretrial Detention Hearing
                               as to TONY NGUYEN held on 9/5/08. The Defendant stipulated to
                               Probable Cause and Pretrial Detention. Signed by Judge Jacob P.
                               Hart.Court Reporter ESR.(mac,) [2:08-mj-01115] (Entered:
                               09/08/2008)
 09/08/2008               29   ORDER OF PRETRIAL DETENTION AS TO TONY NGUYEN
                               THAT DEFENDANT IS DETAINED PENDING TRIAL, ETC. Signed
                               by MAGISTRATE JUDGE JACOB P. HART on 9/8/089/8/08 Entered
                               and Copies Mailed, E-Mailed. (mac,) [2:08-mj-01115] (Entered:
                               09/08/2008)
 09/10/2008          Qi        (Court only) ***Set/Clear Flags as to CHHUN PRIL, TONY
                               NGUYEN, OLUTONKUNBO EFFUNNUGA, JENNIFER
                               KHOUNSACKNARA TH, DANNY KLOT Set Indictment Flag
                               9110/08. Gh,) [2:08-mj-01115] (Entered: 09/10/2008)
 09/10/2008               32 ORDER OF AUTHORIZATION FOR ABOVE-NORMAL PAYMENT
                             OF INTERPRETER AS TO TONY NGUYEN. Signed by
                             MAGISTRATE JUDGE JACOB P. HART on 9/8/08.9/10/08 Entered
                             and Copies Mailed, E-Mailed. (lisad,) [2:08-mj-01115] (Entered:
                             09/10/2008)
 09/10/2008               30 Minute Entry for proceedings held before MAGISTRATE JUDGE
                             CAROL SANDRA MOORE WELLS: Initial Appearance as to CHHUN
                             PRIL held on 9/9/08. The Government's Motion for Temporary
                             Detention is Granted. A Detention Hearing and Preliminary
                             Examination are scheduled for September 12, 2008. ATTORNEY
                             THOMAS IVORY for CHHUN PRIL ADDED IN CASE. Signed by
                             Judge Carol Sandra Moore Wells.Court Reporter ESR.(mac,) [2:08-mj-
                             01115] (Entered: 09/10/2008)
 09/10/2008               31   CJA 23 Financial Affidavit filed by CHHUN PRIL. (mac,) [2:08-mj-
                               01115] (Entered: 09/l 0/2008)
 09/10/2008               33   INDICTMENT as to CHHUN PRIL (1) count(s) 1, 3, TONY NGUYEN
                               (2) count(s) 1, OLUTONKUNBO EFFUNNUGA (3) count(s) 1, 2,
                               JENNIFER KHOUNSACKNARATH (4) count(s) 1, DANNY KLOT
                               (5) count(s) 1, 4. (tj,) (Entered: 09/11/2008)
 09/12/2008               34



https://ecf.paed.circ3 .dcn/cgi-bin/DktRpt.pl?l 0301635876322-L_ 1_0-1                      4/10/2018
          Case
United States   2:18-cv-00924-PD
              District                  Document
                       Court Eastern District        15-2 Filed 05/03/18
                                              of Pennsylvania               Page 45 ofPage
                                                                                       72 13 of 40


                              NOTICE OF HEARING as to CHHUN PRIL Arraignment is set for
                              9118/2008 at 10:30 AM in COURTROOM SOB before MAGISTRATE
                              JUDGE THOMAS J. RUETER. (ea,) (Entered: 09112/2008)
 09/12/2008              35   NOTICE OF HEARING as to TONY NGUYEN Arraignment is set for
                              9/18/2008 at 10:30 AM in COURTROOM 5-B before MAGISTRATE
                              JUDGE THOMAS J. RUETER. (ea,) (Entered: 09/12/2008)
 09/12/2008              36 NOTICE OF HEARING as to OLUTONKUNBO EFFUNNUGA
                            Arraignment is set for 9/18/2008 at 10:30 AM in COURTROOM 5-B
                            before MAGISTRATE JUDGE THOMAS J. RUETER. (ea, ) (Entered:
                            09/12/2008)
 09/12/2008              37 NOTICE OF HEARING as to JENNIFER KHOUNSACKNARATH
                            Arraignment is set for 9/18/2008 at 10:30 AM in COURTROOM 5-B
                            before MAGISTRATE JUDGE THOMAS J. RUETER. (ea,) (Entered:
                            09/12/2008)
 09./12/2008             38 NOTICE OF HEARING as to DANNY KLOT Arraignment is set for
                            9/18/2008 at 10:30 AM in COURTROOM 5-B before MAGISTRATE
                            JUDGE THOMAS J. RUETER. (ea,) (Entered: 09/12/2008)
 09/15/2008              39   Minute Entry for proceedings held before MAGISTRATE JUDGE
                              CAROL SANDRA MOORE WELLS: Preliminary Examination/Pretrial
                              Detention Hearing as to CHHUN PRIL held on 9/12/08. The Defendant
                              stipulated to Probable Cause and Pretrial Detention. Signed by Judge
                              Carol Sandra Moore Wells.Court Reporter ESR.(mac,) (Entered:
                              09/16/2008)
 09/15/2008              40 NOTICE OF ATTORNEY APPEARANCE FILED BY THOMAS
                            IVORY appearing for CHHUN PRIL. (mac,) (Entered: 09/16/2008)
 09/18/2008              41   Minute Entry for proceedings held before MAGISTRATE JUDGE
                              THOMAS J. RUETER. Arraignment as to CHHUN PRIL (1) Count 1,3
                              held on 9/18/08. Plea entered by CHHUN PRIL Not Guilty on counts
                              1,3. Defendant allowed 10 days to file motions. Trial set for
                              10/29/08.Court Reporter ESR.(dt) (Entered: 09/18/2008)
 09/18/2008              42   Minute Entry for proceedings held before MAGISTRATE JUDGE
                              THOMAS J. RUETER.Arraignment as to TONY NGUYEN (2) Count 1
                              held on 9/18/08. Plea entered by TONY NGUYEN Not Guilty on counts
                              1. Defendant Allowed 10 days to file motions. Trial set for
                              10/29/08.Court Reporter ESR.(dt) (Entered: 09/18/2008)
 09/18/2008              43   Minute Entry for proceedings held before MAGISTRATE JUDGE
                              THOMAS J. RUETERArraignment held on 9/18/08. Arraignment
                              Continued to 9/25/2008 10:30 AM in COURTROOM before
                              MAGISTRATE JUDGE M. FAITH ANGELL.Court Reporter Esr.(dt,)
                              (Entered: 09/18/2008)
 09/18/2008              44 NOTICE OF ATTORNEY APPEARANCE EMILY LYNNE MIRSKY,
                            JACK MEYERSON appearing for JENNIFER
                            KHOUNSACKNARATH (dt,) (Entered: 09/18/2008)



https://ecf.paed.circ3 .dcn/cgi-bin/DktRpt.pl?l 0301635876322-L _ 1_0-1                   4/10/2018
          Case
United States   2:18-cv-00924-PD
              District                  Document
                       Court Eastern District        15-2 Filed 05/03/18
                                              of Pennsylvania                   Page 46 ofPage
                                                                                           72 14 of 40


 09/18/2008              45     Minute Entry for proceedings held before MAGISTRATE JUDGE
                                THOMAS J. RUETER. Arraignment as to JENNIFER
                                KHOUNSACKNARATH (4) Count 1 held on 9/18/08. Plea entered by
                                JENNIFER KHOUNSACKNARATH Not Guilty on counts 1.
                                Defendant allowed 10 days to file motions. Trial set for 10/29/08.Court
                                Reporter ESR.(dt) (Entered: 09/18/2008)
 09/18/2008              46     Minute Entry for proceedings held before MAGISTRATE JUDGE
                                THOMAS J. RUETER. Arraignment as to DANNY KLOT (5) Count
                                1,4 held on 9/18/08. Plea entered by DANNY KLOT Not Guilty on
                                counts 1,4. Court Reporter ESR.(dt) (Entered: 09118/2008)
 09/19/2008              47 NOTICE OF HEARING as to OLUTONKUNBO EFFUNNUGA
                            Arraignment set for 9/25/2008 10:30 AM in COURTROOM 5-B before
                            HONORABLE MAGISTRATE JUDGE ANGELL. (ea, ) (Entered:
                            09/19/2008)
 09/19/2008              48     ORDER OF TEMPORARY DETENTION OF 9/18/08 THAT THE
                                ARRAIGNMENT SCHEDULED FOR TODAY HAS BEEN
                                RESCHEDULED TO 9/25/08 AT 10:30AM BEFORE MAGISTRATE
                                JUDGE M. FAITH ANGELL IN COURTROOM SB. PENDING THE
                                HEARING, THE DEFENDANT SHALL BE HELD IN THE
                                CUSTODY OF THE U.S. MARSHAL AND PRODUCED FOR THE
                                HEARING. SIGNED BY JUDGE THOMS J. RUTER. 9/19/08
                                ENTERED AND COPIES E-MAILED. (DT) (Entered: 09/19/2008)
 09/19/2008              49     MOTION for Extension of Time to File Pre-Trial Motions and to
                                Continue the Trial Date by JENNIFER KHOUNSACKNARA TH.
                                (MIRSKY, EMILY) (Entered: 09/19/2008)
 09/19/2008              50     ORDER OF AUTHORIZATION FOR ABOVE-NORMAL PAYMENT
                                OF INTERPRETER AS TO TONY NGUYEN. Signed by
                                MAGISTRATE JUDGE THOMAS J. RUETER on 9/19/08.9/19/08
                                ENTERED. (Entered: 09/19/2008)
 09/22/2008              51     ORDER FOR SPEEDY TRIAL DELAY OF 9/22/08 AS TO
                                JENNIFER KHOUNSACKNARA TH THAT EXCLUDABLE TIME
                                IN THE ABOVE-CAPTIONED CAE BE COMPUTED AND
                                ENTERED IN THE RECORD FROM THE DATE OF FILING OF
                                THE DEFENDANT'S MOTION TO EXTEND DEADLINE FOR
                                FILING PRE-TRIAL MOTIONS AND TO CONITNUE THE TRIAL
                                DATE, FILED 9/19/08, UNTIL SUCH TIME THAT A HEARING ON
                                SAID MOTION IS CONCLUDED OR OTHER PROMPT
                                DISPOSITION IS MADE. SIGNED BY JUDGE STEWART
                                DALZELL. 9/23/08 ENTERED AND COPIES E-MAILED. (DT)
                                (Entered: 09/23/2008)
                         ~,.,


 09/23/2008              )""    NOTICE OF HEARING as to CHHUN PRIL JURY TRIAL SET FOR
                                10/29/2008 09:30 AM IN COURTROOM 10-B BEFORE
                                HONORABLE STEWART DALZELL. (ea,) (Entered: 09/23/2008)
 09/23/2008              53



https://ecf.paed.circ3.dcn/cgi-bin/DktRpt. pl?l 0301635876322-L_ 1_0-l                         4/10/2018
          Case
United States   2:18-cv-00924-PD
              District                  Document
                       Court Eastern District        15-2 Filed 05/03/18
                                              of Pennsylvania              Page 47 ofPage
                                                                                      72 15 of 40


                              NOTICE OF HEARING as to TONY NGUYEN JURY TRIAL SET
                              FOR 10/29/2008 09:30 AM IN COURTROOM 10-B BEFORE
                              HONORABLE STEWART DALZELL. (ea,) (Entered: 09/23/2008)
 09/23/2008              54 NOTICE OF HEARING as to JENNIFER KHOUNSACKNARATH
                            JURY TRIAL SET FOR 10/29/2008 09:30 AM IN COURTROOM
                            10-B BEFORE HONORABLE STEWART DALZELL. (ea,) (Entered:
                            09/23/2008)
 09/23/2008              55   NOTICE OF HEARING as to DANNY KLOT JURY TRIAL SET FOR
                              10/29/2008 09:30 AM IN COURTROOM 10-B BEFORE
                              HONORABLE STEWART DALZELL. (ea, ) (Entered: 09/23/2008)
 09/25/2008              56   Minute Entry for proceedings held before MAGISTRATE JUDGE M.
                              FAITH ANGELL.Arraignment as to OLUTONKUNBO EFFUNNUGA
                              (3) Count 1,2 held on 9/25/08., Plea entered by OLUTONKUNBO
                              EFFUNNUGA Not Guilty on counts 1-2. Defendant allowed 10 days to
                              file motions.Court Reporter Jerry LaRosa, Jr., Esr.(dt, ) (Entered:
                              09/25/2008)
 09/25/2008              57 NOTICE OF ATTORNEY APPEARANCE TARIQ KARIM EL-
                            SHABAZZ appearing for OLUTONKUNBO EFFUNNUGA. (dt)
                            (Entered: 09/25/2008)
 09/25/2008              58   NOTICE OF HEARING as to OLUTONKUNBO EFFUNNUGA JURY
                              TRIAL SET FOR 10/29/2008 09:30 AM IN COURTROOM 10-B
                              BEFORE HONORABLE STEWART DALZELL. (ea,) (Entered:
                              09/25/2008)
 09/26/2008              59 NOTICE OF HEARING ON MOTION in case as to CHHUN PRIL,
                            TONY NGUYEN, OLUTONKUNBO EFFUNNUGA, JENNIFER
                            KHOUNSACKNARA TH, DANNY KLOT 49 MOTION for Extension
                            of Time to File Pre-Trial Motions and to Continue the Trial Date:
                            MOTION HEARING SET FOR 10/27/2008 AT 03:30 PM IN
                            COURTROOM 10-B BEFORE HONORABLE STEWART DALZELL.
                            (Attachments:# l Notice,#~ Notice,# J Notice,#:!: Notice,# 2 Notice)
                            (ea, ) (Entered: 09/26/2008)
 09/26/2008
                     w        (Court only) ***Clear Flag as to (VIETNAMESE) as to TONY
                              NGUYEN. Per Defense Counsel the defendant speaks English. (lb,)
                              (Entered: 09/26/2008)
 10/01/2008              QQ First MOTION to Continue Trial and Extend time to File Pre-Trial
                              Motions- Unopposed. by CHHUN PRIL. (IVORY, THOMAS)
                              (Entered: 10/01/2008)
 10/02/2008
                     w        (Court only) ***Set Interpreter Flag as to (VIETNAMESE) for TONY
                              NGUYEN. (lb,) (Entered: 10/02/2008)
 10/02/2008              61   ORDER FOR SPEEDY TRIAL DELAY OF 10/2/08 AS TO CHHUN
                              PRIL THAT EXCLUDABLE TIME IN THE ABOVE-CAPTIONED
                              CASE BE COMPUTED AND ENTERED IN THE RECORD FROM
                              THE DATE OF FILING OF THE DEFENDANT'S MOTION FOR



https://ecf.paed.circ3.dcn/cgi-bin/DktRpt.pl?l 0301635876322-L _ 1_0-1                   4/10/2018
         Case
United States   2:18-cv-00924-PD
              District                  Document
                       Court Eastern District        15-2 Filed 05/03/18
                                              of Pennsylvania              Page 48 ofPage
                                                                                      72 16 of 40


                              EXTENSION OF TIME TO FILE PRE TRIAL MOTIONS AND TO
                              CONTINUE TRIAL WHICH WAS FILED ON 10/1/08 UNTIL SUCH
                              TIME THAT A HEARING ON SAID MOTION IS CONCLUDED OR
                              OTHER PROMPT DISPOSITION IS MADE. SIGNED BY JUDGE
                              STEWART DALZELL. 10/2/08 ENTERED AND COPIES
                              E-MAILED. (DT) (Entered: 10/02/2008)
 10/03/2008              62 First MOTION to Continue and Have Captioned Case Declared
                              Complex by USA as to CHHUN PRIL, TONY NGUYEN,
                              OLUTONKUNBO EFFUNNUGA, JENNIFER
                              KHOUNSACKNARA TH, DANNY KLOT with Certificate of Service.
                              (FOULKES, ANDREA) Modified on 10/6/2008 (le, ). (Entered:
                              10/03/2008)
 10/03/2008              63 Arrest Warrant Returned Executed on 8/20/08. in case as to JENNIFER
                              KHOUNSACKNARATH. (dt,) (Entered: 10/03/2008)
 10/03/2008              64   Arrest Warrant Returned Executed on 8/20/08. in case as to DANNY
                              KLOT. (dt, ) (Entered: 10/03/2008)
 10/03/2008              65   Arrest Warrant Returned Executed on 8/20/08 in case as to TONY
                              NGUYEN. (dt) (Entered: 10/03/2008)
 10/06/2008              66 ORDER FOR SPEEDY TRIAL DELAY OF 10/6/08 AS TO CHHUN
                              PRIL, TONY NGUYEN, OLUTONKUNBO EFFUNNUGA,
                              JENNIFER KHOUNSACKNARA TH, DANNY KLOT THAT
                              EXCLUDABLE TIME IN THE ABOVE-CAPTIONED CASE BE
                              COMPUTED AND ENTERED IN THE RECORD FROM THE DA TE
                              OF FILING OF GOVERNMENT'S MOTION (DOC. 62) TO HAVE
                              CASE DECLARED COMPLEX WHICH WAS FILED ON OCTOBER
                              3, 2008 UNTIL SUCH TIME THAT A HEARING ON SAID MOTION
                              IS CONCLUDED OR OTHER PROMPT DISPOSITION IS MADE.
                              SIGNED BY JUDGE STEWART DALZELL. 10/7/08 ENTERED
                              AND COPIES E-MAILED. (DT) (Entered: 10/07/2008)
 10/10/2008              67   CJA 20 OF 9/9/08 AS TO CHHUN PRIL: APPOINTMENT OF
                              ATTORNEY THOMAS IVORY. SIGNED BY JUDGE CAROL
                              SANDRA MOORE WELLS. 10/10/08 ENTERED AND COPIES
                              E-MAILED. (DT) (Entered: 10/10/2008)
 10116/2008              68   Arrest Warrant Returned Executed on 8/21/08, in case as to
                              OLUTONKUNBO EFFUNNUGA. Gh,) (Entered: 10117/2008)
 10/28/2008              69 NOTICE OF HEARING as to CHHUN PRIL A Hearing on pre-trial
                              motions is set for 3/4/2009 at 9:30 AM in COURTROOM 10-B before
                              the HONORABLE STEWART DALZELL. (ea,) (Entered: 10/28/2008)
 10/28/2008              70   NOTICE OF HEARING as to CHHUN PRIL JURY TRIAL IS SET
                              FOR 3/9/2009 AT 9:30 AM IN COURTROOM 10-B BEFORE THE
                              HONORABLE STEWART DALZELL. (ea,) (Entered: 10/28/2008)
 10/28/2008              71




https://ecf.paed.circ3.dcn/cgi-bin/DktRpt.pl?l 0301635876322-L _ 1_0-1                     4/10/2018
         Case
United States   2:18-cv-00924-PD
              District                  Document
                       Court Eastern District        15-2 Filed 05/03/18
                                              of Pennsylvania                 Page 49 ofPage
                                                                                         72 17of40


                              NOTICE OF HEARING as to TONY NGUYEN A Hearing on pre-trial
                              motions is set for 3/4/2009 at 9:30 AM in COURTROOM 10-B before
                              the HONORABLE STEWART DALZELL. (ea,) (Entered: 10/28/2008)
 10/28/2008              72 NOTICE OF HEARING as to TONY NGUYEN JURY TRIAL IS SET
                            FOR 3/9/2009 AT 9:30 AM IN COURTROOM 10-B BEFORE THE
                            HONORABLE STEWART DALZELL. (ea,) (Entered: 10/28/2008)
 10/28/2008              73   NOTICE OF HEARING as to OLUTONKUNBO EFFUNNUGA A
                              Hearing on pre-trial motions is set for 3/4/2009 at 9:30 AM in
                              COURTROOM 10-B before the HONORABLE STEWART
                              DALZELL. (ea, ) (Entered: 10/28/2008)
 10/28/2008              74 NOTICE OF HEARING as to OLUTONKUNBO EFFUNNUGA JURY
                            TRIAL IS SET FOR 31912009 AT 9:30 AM IN COURTROOM 10-B
                            BEFORE THE HONORABLE STEWART DALZELL. (ea,) (Entered:
                            10/28/2008)
 10/28/2008              75   NOTICE OF HEARING as to JENNIFER KHOUNSACKNARA TH A
                              Hearing on pre-trial motions is set for 3/4/2009 at 9:30 AM in
                              COURTROOM 10-B before the HONORABLE STEWART
                              DALZELL. (ea, ) (Entered: 10/28/2008)
 10/28/2008              76 NOTICE OF HEARING as to JENNIFER KHOUNSACKNARATH
                            JURY TRIAL IS SET FOR 3/9/2009 AT 9:30 AM IN COURTROOM
                            10-B BEFORE THE HONORABLE STEWART DALZELL. (ea,)
                            (Entered: 10/28/2008)
 10/28/2008              77 NOTICE OF HEARING as to DANNY KLOT A Hearing on pre-trial
                            motions is set for 3/4/2009 at 9:30 AM in COURTROOM 10-B before
                            the HONORABLE STEWART DALZELL. (ea,) (Entered: 10/28/2008)
 10/28/2008              78   NOTICE OF HEARING as to DANNY KLOT JURY TRIAL IS SET
                              FOR 3/9/2009 AT 9:30 AM IN COURTROOM 10-B BEFORE THE
                              HONORABLE STEWART DALZELL. (ea,) (Entered: 10/28/2008)
 10/28/2008              79   Minute Entry for proceedings held before HONORABLE STEWART
                              DALZELL.Bond Hearing as to OLUTONKUNBO EFFUNNUGA held
                              on 10/27/08. Defendant's Request for Bail Pending Trial. Counsel and
                              Defendant Address theCourt. The Defendant's Request is DENIED
                              without prejudice at this time.Court Reporter Kathy Feldman.(dt,)
                              (Entered: 10/28/2008)
 10/28/2008              80   Minute Entry for proceedings held before HONORABLE STEWART
                              DALZELL. Motion Hearing as to CHHUN PRIL, TONY NGUYEN,
                              OLUTONKUNBO EFFUNNUGA, JENNIFER
                              KHOUNSACKNARATH, DANNY KLOT held on 10/27/08. Motions
                              to continue filed on 9/19/08, 10/1/08 and 10/3/08. Counsel address the
                              Court. The Court Grants all Motions. Delivery of disks with tape
                              recordings shall be delivered to defense counsel by 11110/08 with
                              transcripts and other discovery due by Janury 5, 2009.etc. Court
                              Reporter Kathy Feldman.(dt,) (Entered: 10/29/2008)




https://ecf.paed.circ3.dcn/cgi-bin/DktRpt.pl?l 0301635876322-L_ l _ O-l                      4/10/2018
          Case
United States   2:18-cv-00924-PD
              District                  Document
                       Court Eastern District        15-2 Filed 05/03/18
                                              of Pennsylvania                  Page 50 ofPage
                                                                                          72 18 of 40


 10/28/2008                81   ORDER OF 10/28/08 AS TO CHHUN PRIL, TONY NGUYEN,
                                OLUTONKUNBO EFFUNNUGA, JENNIFER
                                KHOUNSACKNARATH, DANNY KLOT THAT DEFENDANT
                                KHOUNSACKNARATH'S MOTION FOR EXTENSION OF TIME
                                TO FILE PRETRIAL MOTIONS AND TO CONTINUE THE TRIAL
                                DATE (DOC. NO. 49), DEFENDANT PRIL'S UNOPPOSED
                                MOTION TO CONTINUE TRIAL AND EXTEND TIME TO FILE
                                PRETRIAL MOTIONS (DOC. NO. 60) AND THE GOVERNMENT'S
                                MOTION TO CONTINUE AND HAVE CAPTIONED CASE
                                DECLARED COMPLEX (DOC. NO. 62) IS GRANTED. ETC.
                                DISCOVERY DUE BY 1/5/2009. ANY PRETRIAL MOTIONS
                                (INCLUDING THE GOVERNMENT'S STARKS MOTION) SHALL
                                BE FILED BY FEBRUARY 6, 2009, WITH RESPONSES THERETO
                                DUE BY FEBRUARY 20, 2009; A HEARING ON ALL
                                UNRESOLVED PRETRIAL MOTIONS SHALL COMMENCE AT
                                9:30AM ON MARCH 4, 2009 IN COURTROOM lOB; AND TRIAL
                                IN THIS MATTER, NOT TO EXCEED TWELVE TRIAL DAYS FOR
                                THE GOVERNMENT'S EVIDENCE, IS SPECIALLY LISTED TO
                                COMMENCE ON MARCH 9, 2008 AT 9:30AM IN COURTROOM
                                lOB. SIGNED BY JUDGE STEWART DALZELL. 10/29/08
                                ENTERED AND COPIES E-MAILED. (DT) (Entered: 10/29/2008)
 10/29/2008          w          (Court only) ***Excludable started XT as to CHHUN PRIL, TONY
                                NGUYEN, OLUTONKUNBO EFFUNNUGA, JENNIFER
                                KHOUNSACKNARATH, DANNY KLOT: (cmc,) (Entered:
                                10/29/2008)
 10/29/2008          ~ '
                                (Court only) ***Motions terminated as to CHHUN PRIL, TONY
                                NGUYEN, OLUTONKUNBO EFFUNNUGA, JENNIFER
                                KHOUNSACKNARA TH, DANNY KLOT: 62 First MOTION to
                                Continue and Have Captioned Case Declared Complex filed by USA,
                                60 First MOTION to Continue Trial and Extend time to File Pre-Trial
                                Motions- Unopposed. filed by CHHUN PRIL, 49 MOTION for
                                Extension of Time to File Pre-Trial Motions and to Continue the Trial
                                Date filed by JENNIFER KHOUNSACKNARATH. (SEE PAPER #81)
                                (dt, ) (Entered: 10/29/2008)
 11107/2008                82 ORDER AS TO CHHUN PRIL, TONY NGUYEN, OLUTONKUNBO
                                EFFUNNUGA, JENNIFER KHOUNSACKNARATH, DANNY KLOT
                                THAT PARA GRAPH 2 OF THE 10/28 ORDER IS AMENDED TO
                                SUBSTITUTE "11/18/08" AS THE FIRST DATE REFERENCED IN
                                THAT PARAGRAPH. Signed by HONORABLE STEWART
                                DALZELL on 11/7/08.11/7/08 Entered and Copies E-Mailed. (ke)
                                (Entered: 11/07/2008)
 11/19/2008                83 MOTION FOR PRETRIAL PSYCHIATRIC OR PSYCHOLOGICAL
                                EXAMINATION UNDER FED.R.CRIM.P.12.2 BY TONY NGUYEN.
                                (gs) (Entered: 11/19/2008)
 12/04/2008                84   ORDER AS TO TONY NGUYEN'S PRO SE 83 MOTION FOR
                                PSYCHIATRIC EXAM IS DENIED AS MOOT FOR THE REASONS



https://ecf.paed.circ3 .dcn/cgi-bin/DktRpt.pl?l 0301635876322-L _ 1_0-1                      4/10/2018
          Case
United States   2:18-cv-00924-PD
              District                  Document
                       Court Eastern District        15-2 Filed 05/03/18
                                              of Pennsylvania              Page 51 ofPage
                                                                                      72 19 of 40


                              OUTLINED HEREIN. Signed by HONORABLE STEWART
                              DALZELL on 12/4/08.12/4/08 ENTERED AND COPIES MAILED,
                              E-MAILED.(gs) (Entered: 12/04/2008)
 01/28/2009              85   (PRO SE) MOTION FOR REVIEW OF THE DETENTION ORDER
                              AND RELEASE ON BAIL FILED BY OLUTONKUNBO
                              EFFUNNUGA. (gs) (Entered: 01/28/2009)
 01/30/2009              86 NOTICE OF HEARING as to OLUTONKUNBO EFFUNNUGA A
                            Bond Hearing is set for 2/6/2009 at 11:00 AM in COURTROOM 10-B
                            before the HONORABLE STEWART DALZELL. (ea,) (Entered:
                            01/30/2009)
 02/04/2009              87   MOTION to Withdraw as Attorney by Tariq Karim El-Shabazz as to
                              OLUTONKUNBO EFFUNNUGA, CERT. OF SERVICE, (Proposed
                              Order). (EL-SHABAZZ, TARIQ) Modified on 21512009 (cmc).
                              (Entered: 02/04/2009)
 0210512009              88 NOTICE OF HEARING as to OLUTONKUNBO EFFUNNUGA A
                            Bail Hearing and an Attorney Withdraw/Appointment Hearing is set for
                            2/17/2009 at 9:30 AM in COURTROOM 10-B before the
                            HONORABLE STEWART DALZELL. (ea,) (Entered: 02/05/2009)
 02/05/2009              89   RESPONSE to Motion by USA as to OLUTONKUNBO EFFUNNUGA
                              re 85 MOTION for Order GOVERNMENT'S RESPONSE TO
                              DEFENDANT'S MOTION FOR REVIEW OF DETENTION ORDER,
                              CERTIFICATE OF SERVICE filed by USA (FOULKES, ANDREA)
                              (Entered: 02/05/2009)
 0210612009              90 NOTICE OF HEARING as to DANNY KLOT A Change of Plea
                            Hearing is set for 2/18/2009 at 9:30 AM in COURTROOM 10-B before
                            the HONORABLE STEWART DALZELL. (ea,) (Entered: 02/06/2009)
 0210612009              91
                         -·   ORDER FOR SPEEDY TRIAL DELAY: AS TO OLUTOKUNBO
                              EFUNNUGA THAT EXCLUDABLE TIME BE COMPUTED AND
                              ENTERED IN THE RECORD FROM THE DATE OF THE FILING
                              OF DEFTS. MOTION FOR REVIEW OF DETENTION FILED
                              1/28/09 UNTIL SUCH TIME THAT A HEARING ON SAID MOTION
                              IS CONCLUDED OR DISPOSITION IS MADE .. Signed by
                              HONORABLE STEWART DALZELL on 216109.2/6109 Entered and
                              Copies Mailed, E-Mailed. (gs,) (Entered: 02/06/2009)
 02/06/2009              92   ORDER AS TO CHHUN PRIL, TONY NGUYEN, OLUTONKUNBO
                              EFFUNNUGA, JENNIFER KHOUNSACKNARATH, DANNY KLOT
                              THAT THE DEADLINES SET IN PARA GRAPH 2 OF THIS
                              COURT'S ORDER OF 10/28/08 ARE VACATED AND THE
                              HEARING REFERENCE IN PARAGRAPH 3 THEREOF IS
                              CONTINUED UNTIL FURTHER ORDER OF THE COURT. Signed
                              by HONORABLE STEWART DALZELL on 216/09.216109 Entered and
                              Copies E-Mailed. (gs) (Entered: 02/06/2009)
 0210612009              93   (Pro Se)PETITION for Return of Property by OLUTONKUNBO
                              EFFUNNUGA with Certificate of Service. (gs) (Entered: 02/06/2009)



https://ecf.paed.circ3 .dcn/cgi-bin/DktRpt.pl?l 0301635876322-L _ 1_0-1                  4/10/2018
         Case
United States   2:18-cv-00924-PD
              District                  Document
                       Court Eastern District        15-2 Filed 05/03/18
                                              of Pennsylvania               Page 52 ofPage
                                                                                       72 20 of 40


 02/09/2009              94   NOTICE OF HEARING as to DANNY KLOT The Change of Plea
                              Hearing is rescheduled to 2/19/2009 at 2:30 PM in COURTROOM 10-B
                              before the HONORABLE STEWART DALZELL. (ea,) (Entered:
                              02/09/2009)
 0210912009              95   NOTICE OF HEARING as to JENNIFER KHOUNSACKNARA TH A
                              Change of Plea Hearing is set for 3/4/2009 at 2:30 PM in
                              COURTROOM 10-B before the HONORABLE STEWART
                              DALZELL. (ea, ) (Entered: 02/09/2009)
 02111/2009              96   Request to Review Motions Filed by OLUTONKUNBO
                              EFFUNNUGA. (gs,) (Entered: 02/12/2009)
 02117/2009              97 Minute Entry for proceedings held before HONORABLE STEWART
                            DALZELL Attorney Appointment Hearing as to OLUTONKUNBO
                            EFFUNNUGA held on 2/17/09. Defts. Pro Se Motion to a withdrawel of
                            his counsel is granted. Deft. asks Court to withdraw his motions for
                            detention order and return of property. The Court will appoint a new
                            attorney and entertain a motion for a continuance of the trial which is
                            currently set for 3/9/09. Court Reporter K. Feldman.(gs) (Entered:
                            02/18/2009)
 02117/2009              98 ORDER AS TO OLUTONKUNBO EFFUNNUGA THAT THE 85
                              MOTION FOR REVIEW OF THE DETENTION ORDER AND
                              RELEASE ON BAIL AND THE SUBSEQUENT FILING OF A
                              PETITION WITHDRAWING HIS MOTIONS, IT IS ORDERED
                              THAT THE CLERK SHALL MARK THE MOTIONS
                              "WITHDRAWN". Signed by HONORABLE STEWART DALZELL on
                              2/1 7/09 .2/18/09 Entered and Copies E-Mailed. (gs) (Entered:
                              02/18/2009)
 02/17/2009              99   ORDER AS TO OLUTONKUNBO EFFUNNUGA THAT THE 87
                              MOTION TO WITHDRAW AND FOR APPOINTMENT OF
                              COUNSEL IS GHRANTED. TARIQ KARIM ELOSHABAZZ SHALL
                              DELIVER THE DISCOVERY IN HIS POSSESSION TO
                              SUCCESSOR COUNSEL. PAUL HETZNECKER, ESQ. IS
                              APPOINTED AS COUNSEL FOR DEFT. THE CLERK SHALL
                              MARK THE APPEARANCE OF TARIQ KARIM EL-SHABAZZ AS
                              "WITHDRAWN". Signed by HONORABLE STEWART DALZELL on
                              2/17/09.2/18/09 Entered and Copies E-Mailed and Faxed by Chambers.
                              (gs) (Entered: 02/18/2009)
 02117/2009                   ***Attorney update in case as to OLUTONKUNBO EFFUNNUGA.
                              Attorney PAUL J. HETZNECKER for OLUTONKUNBO
                              EFFUNNUGA added. Attorney TARIQ KARIM EL-SHABAZZ
                              terminated. (gs) (Entered: 02/18/2009)
 02/19/2009             100 NOTICE OF HEARING as to DANNY KLOT Sentencing is set for
                            5/22/2009 at 11 :00 AM in COURTROOM 10-B before the
                            HONORABLE STEWART DALZELL. (ea,) (Entered: 02/19/2009)
 02/19/2009             102



https://ecf.paed.circ3 .dcn/cgi-bin/DktRpt.pl?l 0301635876322-L_1_0-1                     4/10/2018
          Case
United States   2:18-cv-00924-PD
              District                  Document
                       Court Eastern District        15-2 Filed 05/03/18
                                              of Pennsylvania                 Page 53 ofPage
                                                                                         72 21 of 40


                              ORDER AS TO DANNY KLOT (FILED UNDER SEAL). Signed by
                              HONORABLE STEWART DALZELL on 2/19/09.2/20/09 Entered and
                              Copies Mailed. (gs) (Entered: 02/20/2009)
 02/19/2009             103   (SEALED) Minute Entry for proceedings held before HONORABLE
                              STEWART DALZELL as to DANNY KLOT held on 2/19/09 .(gs, )
                              (Entered: 02/20/2009)
 0211912009             104 Plea Document as to DANNY KLOT (gs,) (Entered: 02/20/2009)
 0211912009             105   Plea Document as to DANNY KLOT (gs, ) (Entered: 02/20/2009)
 02/20/2009             101   MOTION to Continue by OLUTONKUNBO EFFUNNUGA.
                              (HETZNECKER, PAUL) (Additional attachment(s) added on
                              2/23/2009: # l CORRECT PDF) (cmc, ). (Entered: 02/20/2009)
 02/20/2009             107   CJA 20 AS TO OLUTONKUNBO EFFUNNUGA: APPOINTMENT
                              OF ATTORNEY PAUL J. HETZNECKER for OLUTONKUNBO
                              EFFUNNUGA. Signed by HONORABLE STEWART DALZELL on
                              2/17 /09.2/23/09 Entered and Copies Mailed. (gs) (Entered: 02/23/2009)
 02/23/2009             106 MOTION to Continue by OLUTONKUNBO EFFUNNUGA.
                            (HETZNECKER, PAUL) (DUPLICATE OF DOC. 101--ATTY
                            ERROR) Modified on 2/23/2009 (cmc ). (Entered: 02/23/2009)
 02/23/2009             108   ORDER FOR SPEEDY TRIAL DELAY: AS TO OLUTONKUNBO
                              EFFUNNUGA THAT EXCLUDABLE TIME BE COMPUTED AND
                              ENTERED IN THE RECORD FROM THE DATE OF THE DEFT'S
                              MOTION FOR A CONTINUANCE FILED ON 2120109 UNTIL SUCH
                              TIME THAT A HEARING ON SAID MOTION IS CONCLUDED OR
                              DISPOSITION IS MADE. Signed by HONORABLE STEWART
                              DALZELL on 2/23/09.2/23/09 Entered and Copies Mailed, E-Mailed.
                              (gs) (Entered: 02/23/2009)
 02/24/2009             109 NOTICE OF HEARING as to TONY NGUYEN A Change of Plea
                            Hearing is set for 3/5/2009 at 9:30 AM in COURTROOM 10-B before
                            the HONORABLE STEWART DALZELL. (ea,) (Entered: 02/24/2009)
 02/24/2009             110 NOTICE OF HEARING as to OLUTONKUNBO EFFUNNUGA A
                            CONTINUANCE/SCHEDULING HEARING IS SET FOR 3/5/2009
                            AT 11 :00 AM IN COURTROOM 10-B BEFORE THE HONORABLE
                            STEWART DALZELL. (ea,) (Entered: 02/24/2009)
 02/24/2009             ill NOTICE OF HEARING as to CHHUN PRIL A
                              CONTINUANCE/SCHEDULING HEARING IS SET FOR 31512009
                              AT 11 :00 AM IN COURTROOM 10-B BEFORE THE HONORABLE
                              STEWART DALZELL. (ea,) (Entered: 02/24/2009)
 03/04/2009             112 NOTICE OF HEARING as to JENNIFER KHOUNSACKNARA TH
                            Sentencing is set for 6/12/2009 at 9:30 AM in COURTROOM 10-B
                            before the HONORABLE STEWART DALZELL. (ea,) (Entered:
                            03/04/2009)
 03/05/2009             113



https://ecf.paed.circ3 .dcn/cgi-bin/DktRpt.pl?l 0301635876322-L _ 1_0-l                     4/10/2018
         Case
United States   2:18-cv-00924-PD
              District                  Document
                       Court Eastern District        15-2 Filed 05/03/18
                                              of Pennsylvania                Page 54 ofPage
                                                                                        72 22 of 40


                              NOTICE OF HEARING as to TONY NGUYEN Sentencing is set for
                              6/12/2009 at 11 :00 AM in COURTROOM 10-B before the
                              HONORABLE STEWART DALZELL. (ea,) (Entered: 03/05/2009)
 0310512009             114   MOTION for BILL OF PARTICULARS FOR FORFEITURE OF
                              PROPERTY AND CERTIFICATE OF SERVICE by CHHUN PRIL,
                              TONY NGUYEN, OLUTONKUNBO EFFUNNUGA, JENNIFER
                              KHOUNSACKNARATH, DANNY KLOT (FOULKES, ANDREA)
                              Modified on 31612009 ( cmc ). (Entered: 03/05/2009)
 0310512009             115   JUDICIAL DOCUMENT AS TO JENNIFER
                              KHOUNSACKNARA TH. Signed by HONORABLE STEWART
                              DALZELL on 3/4/09.3/5/09 Entered and Copies Mailed by Chambers.
                              (gs) (Entered: 03/05/2009)
 0310512009             116 Plea Document as to JENNIFER KHOUNSACKNARA TH (gs)
                            (Entered: 03/05/2009)
 0310512009             117 (SEALED) Minute Entry for proceedings held before HONORABLE
                            STEWART DALZELL as to JENNIFER KHOUNSACKNARATH held
                            on 3/4/09.(gs) (Entered: 03/05/2009)
 0310512009             118 JUDICIAL DOCUMENT AS TO TONY NGUYEN. Signed by
                            HONORABLE STEWART DALZELL on 3/5109.3/6109 Entered and
                            Copies Mailed. (gs) (Entered: 03/06/2009)
 0310512009             119 Plea Document as to TONY NGUYEN (gs,) (Entered: 03/06/2009)
 03/05/2009             120 Minute Entry for proceedings held before HONORABLE STEWART
                            DALZELL Change of Plea Hearing as to TONY NGUYEN held on
                            3/5/09.(gs) (Entered: 03/06/2009)
 0310512009             121   Minute Entry for proceedings held before HONORABLE STEWART
                              DALZELL Hearing as to CHHUN PRIL, OLUTONKUNBO
                              EFFUNNUGA held on 315109. Counsel addresses the Court. MOTION
                              HEARING ON DEFT. EFUNNUGA'S IS SET FOR 312612009 09:30
                              AM BEFORE HONORABLE STEWART DALZELLCourt Reporter
                              ESR.(gs) (Entered: 03/06/2009)
 0310512009             122 ORDER AS TO CHHUN PRIL THAT ATTORNEY JOSEPH D.
                            MANCANO IS APPOINTED AS NEW COUNSEL FOR CHHUN
                            PRIL. ATTORNEY THOMAS IVORY SHALL DELIVER THE
                            DISCOVERY TO HIS SUCCESSOR AND COOPERATE TO
                            ASSURE DEFT. IS NOT PREJUDICED BY THE CHANGE IN
                            COUNSEL. Signed by HONORABLE STEWART DALZELL on
                            3/5109.316109 Entered and Copies E-Mailed. (gs, ) (Entered: 03/06/2009)
 0310512009
                    ~         (Court only) ***Motions terminated as to CHHUN PRIL: 114
                              MOTION for Bill of Particulars filed by USA. (rs,) (Entered:
                              07 /23/2009)
 0310512009
                        ~     (Court only) ***Motions terminated as to TONY NGUYEN,
                              OLUTONKUNBO EFFUNNUGA, JENNIFER




https://ecf.paed.circ3 .dcn/cgi-bin/DktRpt.pl?l 0301635876322-L_1_0-1                        4/10/2018
          Case
United States    2:18-cv-00924-PD
              District                   Document
                       Court Eastern District        15-2 Filed 05/03/18
                                              of Pennsylvania                   Page 55 ofPage
                                                                                           72 23 of 40


                              KHOUNSACKNARATH, DANNY KLOT: 114 MOTION for Bill of
                              Particulars filed by USA. (rs, ) (Entered: 08/03/2009)
 0310612009             123   NOTICE OF HEARING as to CHHUN PRIL A STATUS
                              CONFERENCE IS SET FOR 312612009 AT 9:30 AM IN
                              COURTROOM 10-B BEFORE THE HONORABLE STEWART
                              DALZELL. (ea, ) (Entered: 03/06/2009)
 0310612009             124 NOTICE OF HEARING as to OLUTONKUNBO EFFUNNUGA A
                            STATUS CONFERENCE IS SET FOR 312612009 AT 9:30 AM IN
                            COURTROOM 10-B BEFORE THE HONORABLE STEWART
                            DALZELL. (ea, ) (Entered: 03/06/2009)
 0310912009            125    CJA 20 AS TO CHHUN PRIL: APPOINTMENT OF ATTORNEY
                              JOSEPH D. MANCANO for CHHUN PRIL. Signed by HONORABLE
                              STEWART DALZELL on 3/5/09.3/10/09 Entered and Copies
                              E-Mailed. (gs) (Entered: 03/10/2009)
 0312612009             126 NOTICE OF HEARING as to CHHUN PRIL JURY TRIAL IS SET
                            FOR 8110/2009 AT 9:30 AM IN COURTROOM 10-B BEFORE THE
                            HONORABLE STEWART DALZELL. (ea,) (Entered: 03/26/2009)
 03/26/2009            1::?7 NOTICE OF HEARING as to OLUTONKUNBO EFFUNNUGA JURY
                             TRIAL IS SET FOR 8/10/2009 AT 9:30 AM IN COURTROOM 10-B
                             BEFORE THE HONORABLE STEWART DALZELL. (ea,) (Entered:
                             03/26/2009)
 03/26/2009             128   Minute Entry for proceedings held before HONORABLE STEWART
                              DALZELL. Resumed Hearing held on 3126109 Sur: Deft. Efunnuga's
                              motion to continue trial. Deft. Priljoins in the motion Both Defis. sworn
                              and agree that a continuance of trial is in their best interest. Motion to
                              Continue - Granted. All pretrial motions shall be filed by 5/20/09, with
                              responses due 6/3/09. Trial shall commence 8/10/09, at 9:30 A.M. Order
                              to follow.Court Reporter K FELDMAN.(jh,) (Entered: 03/27/2009)
 03/26/2009             129 ORDER AS TO CHHUN PRIL, OLUTONKUNBO EFFUNNUGA
                            GRANTING DEFT. EFFUNNUGA'S MOTIONS FOR
                            CONTINUANCE(DOC. # 101 & # 106). JURY TRIAL SHALL
                            COMMENCE 8/10/2009, 09:30 AM IN COURTROOM 10-B,
                            BEFORE HONORABLE STEWART DALZELL. ANY PRETRIAL
                            MOTIONS SHALL BE FILED BY 5/20/2009, WITH RESPONSES
                            DUE BY 61312009 .. Signed by HONORABLE STEWART DALZELL
                            on 3/26/09.3/27/09 Entered and Copies E-Mailed.(jh,) (Entered:
                            03/27 /2009)
 0410912009             130 MOTION for Protective Order by USA as to CHHUN PRIL.
                            (FOULKES, ANDREA) (Additional attachment(s) added on 4/10/2009:
                            # l CORRECT PDF) (cmc, ). (Entered: 04/09/2009)

 04/14/2009             131   Amended MOTION for Protective Order by USA as to CHHUN PRIL.
                              (FOULKES, ANDREA) (Entered: 04114/2009)
 04/14/2009             132



https://ecf.paed.circ3.dcn/cgi-bin/DktRpt.pl?l 0301635876322-L _1_0-1                          4/10/2018
          Case
United States   2:18-cv-00924-PD
              District                   Document
                       Court Eastern District        15-2 Filed 05/03/18
                                              of Pennsylvania                 Page 56 ofPage
                                                                                         72 24 of 40


                              ORDER AS TO CHHUN PRIL THAT THE 130 UNOPPOSED
                              MOTION FOR A PROTECTIVE ORDER IS GRANTED. DEFENSE
                              COUNSEL SHALL MAINTAIN ALL DISCOVERY IN COUNSEL'S
                              CUSTODY IN ACCORDANCE WITH THE LIMITATIONS
                              PROVIDED HEREIN, ETC. Signed by HONORABLE STEWART
                              DALZELL on 4114/09.4/14/09 Entered and Copies E-Mailed. (gs)
                              (Entered: 04/14/2009)
 04/15/2009             133   ORDER AS TO CHHUN PRIL THAT THE 131 AMENDED
                              PROPOSED PROTECTIVE ORDER IS DENIED AS MOOT. Signed
                              by HONORABLE STEWART DALZELL on 4/15/09.4/15/09 Entered
                              and Copies E-Mailed. (gs,) (Entered: 04/15/2009)
 04/16/2009             134 NOTICE OF ATTORNEY APPEARANCE DANIEL A. VELEZ
                            appearing for USA. (VELEZ, DANIEL) (Entered: 04/16/2009)
 05/14/2009             135 NOTICE OF HEARING as to TONY NGUYEN Sentencing is
                            rescheduled to 10/16/2009 at 9:30 AM in COURTROOM 10-B before
                            the HONORABLE STEWART DALZELL. (ea,) (Entered: 05/14/2009)
 05/14/2009             136 NOTICE OF HEARING as to JENNIFER KHOUNSACKNARA TH
                            Sentencing is rescheduled to 9/18/2009 at 9:30 AM in COURTROOM
                            10-B before the HONORABLE STEWART DALZELL. (ea,) (Entered:
                            05/14/2009)
 05/14/2009             137 NOTICE OF HEARING as to DANNY KLOT Sentencing is
                            rescheduled to 9/18/2009 at 11:00 AM in COURTROOM 10-B before
                            the HONORABLE STEWART DALZELL. (ea,) (Entered: 05/14/2009)
 05/18/2009             138   MOTION for Extension of Time to File Pre-Trial Motions, with
                              Certificate ofService, by CHHUN PRIL. (Attachments:# l Proposed
                              Order)(MANCANO, JOSEPH) (Entered: 05/18/2009)
 05/18/2009             139 ORDER AS TO CHHUN PRIL, OLUTONKUNBO EFFUNNUGA
                            THAT THE 138 MOTION FOR AN EXTENSION OF TIME IS
                            GRANTED. PARAGRAPH 2 OF THIS COURT'S ORDER OF 3126109
                            IS AMENDED TO SUBSTITUTE 6/19/2009 AS A DATE FOR THE
                            FILING OF MOTIONS AND 71612009 AS THE DATE FOR THE
                            RESPONSES THERETO. Signed by HONORABLE STEWART
                            DALZELL on 5/18/09.5/19/09 Entered and Copies E-Mailed. (gs)
                            (Entered: 05119/2009)
 0610312009             140 NOTICE OF HEARING as to CHHUN PRIL A Hearing on
                            representation is set for 6/5/2009 at 9:30 AM in COURTROOM 10-B
                            before the HONORABLE STEWART DALZELL. (ea,) (Entered:
                            06/03/2009)
 0610512009             141   Minute Entry for proceedings held before HONORABLE STEWART
                              DALZELL Attorney Appointment Hearing as to CHHUN PRIL held on
                              615109. Defis. prose request for new counsel. Counsel addresses the
                              Court. Deft. is satisfied with Mr. Mancano's representation. The Court
                              will order a competency evaluation of the Deft.Court Reporter ESR.
                              (gs, ) (Entered: 06/05/2009)



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         Case
United States   2:18-cv-00924-PD
              District                  Document
                       Court Eastern District        15-2 Filed 05/03/18
                                              of Pennsylvania                    Page 57 ofPage
                                                                                            72 25 of 40


 0610512009              142   ORDER AS TO CHHUN PRIL THAT DR. POGOS VOSKANIAN IS
                               APPOINTED TO CONDUCT A PSYCHIATRIC AND/OR
                               PSYCHOLOGICAL EXAMINATION OF DEFT. AS OUTLINED
                               HEREIN. Signed by HONORABLE STEWART DALZELL on
                               615109.6/5/09 Entered and Copies E-Mailed. (gs) (Entered: 06/05/2009)
 06112/2009             143    NOTICE OF HEARING as to CHHUN PRIL A Competency Hearing is
                               set for 6/16/2009 at 3:30 PM in COURTROOM 10-B before the
                               HONORABLE STEWART DALZELL. (ea,) (Entered: 06/12/2009)
 06115/2009                    ***Terminate Deadlines and Hearings as to CHHUN PRIL: (gs,)
                               (Entered: 06/15/2009)
 06/17/2009             144    MOTION TO SUSPEND THE DEADLINE TO FILE PRE-TRIAL
                               MOTIONS AND TRIAL DATE, WITH CERTIFICATE OF SERVICE, by
                               CHHUN PRIL. (Attachments: # l Proposed Order)(MANCANO,
                               JOSEPH) (Entered: 06/17/2009)
 06/17/2009             146 Minute Entry for proceedings held before HONORABLE STEWART
                            DALZELL Hearing as to CHHUN PRIL held on 6/16/09. Courts
                            witness Dr. Pogos Voskanin sworn and questioned.Court Reporter ESR.
                            (gs) (Entered: 06/18/2009)
 06/17/2009             147    ORDER AS TO CHHUN PRIL THAT DR. POGOS VOSKANIAN IS
                               REAPPOINTED TO CONDUCT FURTHER PSYCHIATRIC AND
                               PSYCHOLOGICAL EXAMINATION OF DEFT. THIS EXAM
                               SHOULD TAKE PLACE BY 7117/09. A HEARING TO CONSIDER
                               DR. VOSKANIAN'S RE-EVALUATION SHALL CONVENE IN
                               COURTROOM lOB AT 2:00 ON 7117/09. Signed by HONORABLE
                               STEWART DALZELL on 6/17 /09 .6/18/09 Entered and Copies
                               £-Mailed, Faxed by Chambers. (gs) (Entered: 06/18/2009)
 06/18/2009             145    NOTICE OF HEARING as to CHHUN PRIL A Competency Hearing is
                               set for 7117/2009 at 2:00 PM in COURTROOM 10-B before the
                               HONORABLE STEWART DALZELL. (ea,) (Entered: 06/18/2009)
 06/18/2009             148    NOTICE OF HEARING as to OLUTONKUNBO EFFUNNUGA A
                               Change of Plea Hearing is set for 7/15/2009 at 3:00 PM in
                               COURTROOM 10-B before the HONORABLE STEWART
                               DALZELL. (ea, ) (Entered: 06/18/2009)
 06/18/2009             149    Minute Entry for proceedings held before HONORABLE STEWART
                               DALZELL Telephone Conference as to CHHUN PRIL held on 6/18/09.
                               Deft. not present. Motion to stay preOtrial motions dedline and trial date.
                               Court advises counsel they should file any motions by tmrw. If deft. is
                               found to be competent on 7/17 /09 we may proceed with a Starks Motion
                               at that time.(gs, ) (Entered: 06/19/2009)
 0611912009             151    SEALED MOTION by USA as to CHHUN PRIL, OLUTONKUNBO
                               EFFUNNUGA. (gs,) (Entered: 06/22/2009)
 06/22/2009             150    SEALED MOTION by USA as to CHHUN PRIL, OLUTONKUNBO
                               EFFUNNUGA. (gs) (Entered: 06/22/2009)



https://ecf.paed.circ3.dcn/cgi-bin/DktRpt.pl?l 0301635876322-L _ l _O-l                          4/10/2018
           Case
United States    2:18-cv-00924-PD
              District                   Document
                       Court Eastern District         15-2 Filed 05/03/18
                                              of Pennsylvania                 Page 58 of 72 26 of 40
                                                                                      Page


 0612212009             152   MOTION to Suppress Statements, Memorandum of Law in Support and
                              Certificate ofService, by CHHUN PRIL. (Attachments:# l Proposed
                              Order)(MANCANO, JOSEPH) (Entered: 06/22/2009)
 0612212009             153   MOTION FOR EARLY DISCLOSURE OF JENCKS ACT AND
                              RULE 26.2 F.R. CR. P. MATERIAL, Memorandum in Support and
                              Certificate of Service, by CHHUN PRIL. (Attachments: # l Proposed
                              Order)(MANCANO, JOSEPH) (Entered: 06/22/2009)
 0612212009             154 MOTION for Disclosure OF EVIDENCE FAVORABLE TO
                            DEFENDANT, CHHUN PRIL (BRADY MATERIAL), Memorandum in
                            Support and Certificate ofService, by CHHUN PRIL. (Attachments:# l
                            Proposed Order)(MANCANO, JOSEPH) (Entered: 06/22/2009)
 0612212009             155   MOTION Omnibus Pretrial Motion AND AUTHORITIES JN SUPPORT
                              THEREOF, Memorandum of Law with Certificate ofService, by
                              CHHUN PRIL. (Attachments: # 1 Proposed Orders Omnibus Motion)
                              (MANCANO, JOSEPH) (Entered: 06/22/2009)
 0711012009             156 Plea Document as to OLUTONKUNBO EFFUNNUGA,
                            CERTIFICATE OF SERVICE. (ke) (Entered: 07/13/2009)
 07116/2009             157 NOTICE OF HEARING as to OLUTONKUNBO EFFUNNUGA
                            Sentencing is set for 10/23/2009 at 11 :00 AM in COURTROOM 10-B
                            before the HONORABLE STEWART DALZELL. (ea,) (Entered:
                            07 /16/2009)
 07/17/2009             158   Minute Entry for proceedings held before HONORABLE STEWART
                              DALZELL Competency Hearing as to CHHUN PRIL held on 7/17/09.
                              Court discusses the 7/16/09 report from Dr. Voskanian. Counsel speaks.
                              Defts. Oral Motion for a Continunce is Granted. Responses to pre-trial
                              motions are due by 9/30/09. Hearing on motions will be held on
                              10/9/09. Trial is scheduled for 10119/09.Court Reporter ESR.(gs)
                              (Entered: 07 /20/2009)
 07/17/2009             161   ORDER AS TO CHHUN PRIL THAT A JURY TRIAL IS SET FOR
                              10/19/2009 AT 9:30 AM IN COURTROOM 10-B BEFORE THE
                              HONORABLE STEWART DALZELL. RESPONSES TO ALL
                              PENDING MOTIONS ARE DUE BY 9/30/2009. A PRE-TRIAL
                              MOTION HEARING IS SET FOR 10/9/2009 AT 9:30 AM IN
                              COURTROOM 10-B BEFORE THE HONORABLE STEWART
                              DALZELL. Signed by HONORABLE STEWART DALZELL on
                              7117109.7120/09 Entered and Copies E-Mailed. (gs) (Entered:
                              0712012009)
 0712012009             159 NOTICE OF HEARING as to CHHUN PRIL A HEARING ON PRE-
                            TRIAL MOTIONS IS SET FOR 101912009 AT 9:30 AM IN
                            COURTROOM 10-B BEFORE THE HONORABLE STEWART
                            DALZELL. (ea,) (Entered: 07/20/2009)
 0712012009             160 NOTICE OF HEARING as to CHHUN PRIL JURY TRIAL IS
                            RESCHEDULED TO 10/19/2009 AT 9:30 AM IN COURTROOM




https://ecf.paed.circ3 .dcn/cgi-bin/DktRpt.pl?l 0301635876322-L _ 1_0-1                     4/10/2018
          Case
United States   2:18-cv-00924-PD
              District                  Document
                       Court Eastern District        15-2 Filed 05/03/18
                                              of Pennsylvania                   Page 59 ofPage
                                                                                           72 27 of 40


                                10-B BEFORE THE HONORABLE STEWART DALZELL. (ea,)
                                (Entered: 07 /20/2009)
 08/13/2009          iQ         (Court only) ***Motions terminated as to OLUTONKUNBO
                                EFFUNNUGA: 151 SEALED MOTION filed by USA, 150 SEALED
                                MOTION filed by USA. (gs, ) (Entered: 08/13/2009)
 09/10/2009               162 NOTICE OF HEARING as to JENNIFER KHOUNSACKNARATH
                              Sentencing is rescheduled to 1115/2009 at 9:30 AM in COURTROOM
                              10-B before the HONORABLE STEWART DALZELL. (ea,) (Entered:
                              09/10/2009)
 0911012009               163   NOTICE OF HEARING as to DANNY KLOT Sentencing is
                                rescheduled to 11/5/2009 at 11 :00 AM in COURTROOM 10-B before
                                the HONORABLE STEWART DALZELL. (ea,) (Entered: 09/10/2009)
 09/10/2009               164 NOTICE OF HEARING as to TONY NGUYEN Sentencing is
                              rescheduled to 11/6/2009 at 11 :00 AM in COURTROOM 10-B before
                              the HONORABLE STEWART DALZELL. (ea,) (Entered: 09/10/2009)
 09/21/2009               165 Minute Entry for proceedings held before HONORABLE STEWART
                              DALZELL-Telephone Conference as to CHHUN PRIL held on
                              9/21 /09. Counsel for both parties address the Court. Both parties agree
                              Deft shuold be remanded for mental evaluation and treatment. trial set
                              for 10119/09 is cancelled. Court Reporter K FELDMAN. (cmc) (Entered:
                              09/22/2009)
 09/21/2009               166 ORDER AS TO CHHUN PRIL PURSUANT TO 18 USC 424l(B),
                              4247(B) DEFT IS REMANDED TO CUSTODY OF A SUITABLE
                              PSYCHIATRIC AND/OR PSYCHOLOGICAL FACILITY OF THE
                              B.O.P. IN ORDER FOR IT TO CONDUCT FURTHER
                              PSYCHIATRIC AND/OR PSYCHOLOGICAL EXAMINATIONS OF
                              DEFT AND TO SUPPLY HIM WITH SUITABLE TREATMENT TO
                              ADDRESS HIS EVIDENT AND SIGNIFICANT MENTAL HEALTH
                              NEEDS, AFTER B.O.P. CONCLUDES DEFTS MEDICAL
                              CONDITION HAS STABILIZED AND HAS REACHED A LEVEL
                              OF COMPETENCY, REPORT SHALL BE DELIVERED TO THE
                              COURT AND DEFT BE DELIVERED TO FDC- PHILA. WITH A
                              SPECIFIC REGIMEN OF MEDICATION DEEMED NECESSARY
                              TO MAINTAIN DEFTS COMPETENCY,ETC. Signed by
                              HONORABLE STEWART DALZELL on 9/21/09. 9122109 Entered and
                              Copies E-Mailed and Faxed. (cmc) (Entered: 09/22/2009)
 09/21/2009               167 ORDER AS TO CHHUN PRIL THAT THE DEADLINES SET IN
                              THIS COURTS ORDER OF 7117109 ARE VA CATED AND THE
                              IMPOSITION OF REVISED DEADLINES SHALL ADIE THE
                              RESOLUTION OF THE COMPETENCY ISSUES TO BE
                              ADDRESSED. Signed by HONORABLE STEWART DALZELL on
                              9/21/09. 9122109 Entered and Copies E-Mailed and Faxed. Q(cmc)
                              (Entered: 09/22/2009)
 09/21/2009               168



https://ecf.paed.circ3 .dcn/cgi-bin/DktRpt.pl?l 0301635876322-L _ 1_0-1                       4/10/2018
          Case
United States    2:18-cv-00924-PD
              District                   Document
                       Court Eastern District        15-2 Filed 05/03/18
                                              of Pennsylvania                        Page 60 ofPage
                                                                                                72 28 of 40


                                   ORDER THAT ALL PRETRIAL MOTIONS BY DEFT 144
                                   MOTION; 150 SEALED MOTION, 151 SEALED MOTION; 152
                                   MOTION TO SUPPRESS ; 15:2_ MOTION FOR DISCLOSURE ; 154
                                   MOTION FOR DISCLOSURE; 155 MOTION ARE DENIED
                                   WITHOUT PREJUDICE TO THEIR REASSERTION AFTER THE
                                   ISSUE OF DEFTS COMPETENCY HAS BEEN FAVORABLY
                                   RESOLVED. Signed by HONORABLE STEWART DALZELL on
                                   9/21/09. 9122109 ENTERED AND COPIES E-MAILED AND FAXED.
                                   (cmc) (Entered: 09/22/2009)
 09/21/2009
                     ~             (Court only) ***Excludable started XA as to CHHUN PRIL: (cmc,)
                                   (Entered: 09/22/2009)
 0912212009                  169   REPORT OF SPEEDY TRIAL DELAY: XA THE CALENDARING
                                   OF PROCEDURES AS TO CHHUN PRIL HAS BEEN DELAYED
                                   FOR REASON THAT DEFT IS REMANDED TO A
                                   PSYCHIATRIC/PSYCHOLOGICAL FACILITY FOR EVALUATION
                                   AND TREATMENT. Signed by HONORABLE STEWART
                                   DALZELL on 9/22/9. 912219 Entered and Copies E-Mailed. (cmc)
                                   (Entered: 09/22/2009)
 10/16/2009                  170 NOTICE OF HEARING as to OLUTONKUNBO EFFUNNUGA
                                 Sentencing is rescheduled to 112212010 at 11 :00 AM in COURTROOM
                                 15-B before the HONORABLE STEWART DALZELL. (ea,) (Entered:
                                 10/16/2009)
 10/23/2009                  171   NOTICE OF HEARING as to DANNY KLOT Sentencing is
                                   rescheduled to 1/21/2010 at 11 :00 AM in COURTROOM 15-B before
                                   the HONORABLE STEWART DALZELL. (ea,) (Entered: 10/23/2009)
 10/23/2009                  172 NOTICE OF HEARING as to JENNIFER KHOUNSACKNARA TH
                                 Sentencing is rescheduled to 1/21/2010 at 2:30 PM in COURTROOM
                                 10-B before the HONORABLE STEWART DALZELL. (ea,) (lisad, ).
                                 (Entered: 10/23/2009)
 10/23/2009                  173   NOTICE OF HEARING as to TONY NGUYEN Sentencing is
                                   rescheduled to 1/20/2010 at 11 :00 AM in COURTROOM 15-B before
                                   the HONORABLE STEWART DALZELL. (ea,) (Entered: 10/23/2009)
 12/07/2009                  174 NOTICE OF HEARING as to CHHUN PRIL A Competency Hearing is
                                 set for 12/9/2009 at 1:30 PM in COURTROOM 3-B before the
                                 HONORABLE STEWART DALZELL. (ea,) (Entered: 12/07/2009)
 12/09/2009          ~i
                     '   j
                                   (Court only) ***Excludable started XN as to CHHUN PRIL: (cmc,)
                                   (Entered: 12/09/2009)
                                                             -
 12/09/2009                  175   Minute Entry for proceedings held before HONORABLE STEWART
                                   DALZELL. Competency Hearing as to CHHUN PRIL held on 12/9/09.
                                   Parties agree deft is in need of treatment and should be remanded to the
                                   custody of the attorney general. Order to follow.Court Reporter ESR.
                                   (gs,) (Entered: 12/09/2009)
 12/09/2009                  176



https://ecf.paed.circ3 .dcn/cgi-bin/DktRpt.pl?l 0301635876322-L _ 1_0-1                            4/10/2018
           Case
United States    2:18-cv-00924-PD
              District                    Document
                       Court Eastern District         15-2 Filed 05/03/18
                                              of Pennsylvania               Page 61 of 72 29of40
                                                                                    Page


                              ORDER AS TO CHHUN PRIL THAT THE DEFT. IS COMMITTED
                              TO THE CUSTODY OF THE ATTORNEY GENERAL FOR
                              TREATMENT FOR A REASONABLE TIME AS OUTLINED
                              HEREIN. Signed by HONORABLE STEWART DALZELL on
                              12/9/09.12/9/09 Entered and Copies E-Mailed. (gs,) (Entered:
                              12/09/2009)
 12/09/2009             178 REPORT OF SPEEDY TRIAL DELAY: AS TO CHHUN PRIL THE
                              CALENDARING OF PROCEDURES AS TO THE ABOVE NAMED
                              DEFTS SHALL BE FOUND TO BE MENTALLY INCOMPETENT
                              TO STAND TRIAL AND HAS REMANDED TO A MEDICAL
                              FACILITY FOR MENTAL HEALTH TREATMENT. Signed by
                              HONORABLE STEWART DALZELL on 12/9/09.12/9/09 Entered and
                              Copies E-Mailed. (gs) (Entered: 12/09/2009)
 01/06/2010             179 NOTICE OF HEARING as to TONY NGUYEN Sentencing is
                            rescheduled to 3/25/2010 at9:30 AM in COURTROOM 15-B before the
                            HONORABLE STEWART DALZELL. (ea,) (Entered: 01/06/2010)
 01/06/2010             180 NOTICE OF HEARING as to JENNIFER KHOUNSACKNARA TH
                            Sentencing is rescheduled to 3/25/2010 at 11 :00 AM in COURTROOM
                            15-B before the HONORABLE STEWART DALZELL. (ea,) (Entered:
                            01/06/2010)
 01/06/2010             181   NOTICE OF HEARING as to DANNY KLOT Sentencing is
                              rescheduled to 3/25/2010 at 2:00 PM in COURTROOM 15-B before the
                              HONORABLE STEWART DALZELL. (ea,) (Entered: 01/06/2010)
 01/06/2010             182 NOTICE OF HEARING as to OLUTONKUNBO EFFUNNUGA
                            Sentencing is rescheduled to 4/23/2010 at 11 :00 AM in COURTROOM
                            15-B before the HONORABLE STEWART DALZELL. (ea,) (Entered:
                            01/06/2010)
 02/26/2010             183 NOTICE OF HEARING as to TONY NGUYEN Sentencing is
                            rescheduled to 8/6/2010 at 9:30 AM in COURTROOM 15-B before the
                            HONORABLE STEWART DALZELL. (ea,) (Entered: 02/26/2010)
 03/10/2010             184   ORDER AS TO CHHUN PRIL THAT PARA GRAPH 3 OF THIS
                              COURT'S 12/9/2009 ORDER IS AMENDED TO READ AS
                              FOLLOWS: NO LATER THAN 6/20/2010 THE WARDEN OF FCI-
                              BUTNER SHALL FAX A WRITTEN REPORT TO THE COURT
                              REGARDING DEFENDANT'S COMPETENCY AND WHETHER, IN
                              FACT, THE ADDITIONAL REASONABLE PERIOD OF TIME
                              CONTEMPLATED IN 18:4241(d)(2) IS NECESSARY .. Signed by
                              HONORABLE STEWART DALZELL on 3/10/2010.3/10/2010 Entered
                              and Copies E-Mailed. (ap,) (Entered: 03/10/2010)
 03/18/2010             185   SENTENCING DOCUMENT with CERTIFICATE OF SERVICE as to
                              JENNIFER KHOUNSACKNARATH (ap,) (Entered: 03/18/2010)
 03/18/2010             186 Sentencing Document by USA as to JENNIFER
                            KHOUNSACKNARATH. with CERTIFICATE OF SERVICE. (ap,)
                            (Entered: 03/18/2010)



https://ecf.paed.circ3.dcn/cgi-bin/DktRpt.pl?l 0301635876322-L _ 1_0-1                 4/10/2018
          Case
United States    2:18-cv-00924-PD
              District                   Document
                       Court Eastern District         15-2 Filed 05/03/18
                                              of Pennsylvania               Page 62 of 72 30 of 40
                                                                                     Page


 03/18/2010             187 JUDICIAL DOCUMENT AS TO CERTAIN PERSONS. Signed by
                            HONORABLE STEWART DALZELL on 3/4/2010.3/18/2010
                            ENTERED AND COPIES MAILED.(ap,) (Entered: 03118/2010)
 03/19/2010             188   Sentencing Document by USA as to JENNIFER
                              KHOUNSACKNARA TH. with CERTIFICATE OF SERVICE. (ap, )
                              Modified on 311912010 (ap, ). (Entered: 03/19/2010)
 03/19/2010             189 Sentencing Document by USA as to DANNY KLOT. with
                            CERTIFICATE OF SERVICE. (ap,) (Entered: 03/19/2010)
 03/24/2010             190 MOTION for Judgment and Preliminary Order of Forfeiture,
                            Certificate of Service by USA as to DANNY KLOT. (FOULKES,
                            ANDREA) (FILED UNDER SEAL) Modified on 3/26/2010 (ap, ).
                            (Entered: 03/24/2010)
 03/24/2010             191   SENTENCING DOCUMENT as to JENNIFER
                              KHOUNSACKNARATH with CERTIFICATE OF SERVICE (FILED
                              UNDER SEAL). (ap,) (Entered: 03/25/2010)
 03/25/2010             192   SENTENCING DOCUMENT as to DANNY KLOT WITH
                              CERTIFICATE OF SERVICE (FILED UNDER SEAL). (ap,) (Entered:
                              0312512010)
 03/25/2010             193   SEALED Minute Entry for proceedings held before HONORABLE
                              STEWART DALZELL held on 3/25/2010 for JENNIFER
                              KHOUNSACKNARATH. Court Reporter ESR. (ap,) (Entered:
                              03/26/2010)
 03/25/2010             194 JUDICIAL DOCUMENT AS TO CERTAIN PERSON. Signed by
                            HONORABLE STEWART DALZELL on 3/25/2010.3/26/2010
                            ENTERED AND COPIES MAILED by Chambers.(ap,) (Entered:
                            0312612010)
 03/25/2010             195   JUDGMENT AS TO JENNIFER KHOUNSACKNARA TH. Signed by
                              HONORABLE STEWART DALZELL on 3/25/2010.3/26/2010 Entered
                              and Copies Mailed by Chambers. (FILED UNDER SEAL)(ap,)
                              (Entered: 03/26/2010)
 03/25/2010             196 ORDER AS TO JENNIFER KHOUNSACKNARA TH. Signed by
                            HONORABLE STEWART DALZELL on 3/25/2010. 3/26/2010
                            Entered and copies Mailed by chambers. (FILED UNDER SEAL) (ap,)
                            (Entered: 03/26/2010)
 03/25/2010             197 JUDICIAL DOCUMENT AS TO CERTAIN PERSON. Signed by
                            HONORABLE STEWART DALZELL on 3/24/2010.3/26/2010 Entered
                            and Copies Mailed. (ap,) (Entered: 03/26/2010)
 03/25/2010             198   SEALED Minute Entry for proceedings held before HONORABLE
                              STEWART DALZELL held on 3/25/2010 for DANNY KLOT. Court
                              Reporter ESR. (ap, ) (Entered: 03/26/2010)
 03/25/2010             199 JUDGMENT AS TO DANNY KLOT. Signed by HONORABLE
                            STEWART DALZELL on 3/25/2010. 3/26/2010 Entered and Copies



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           Case
United States    2:18-cv-00924-PD
              District                   Document
                       Court Eastern District         15-2 Filed 05/03/18
                                              of Pennsylvania                Page 63 of 72 31of40
                                                                                     Page


                              Mailed by Chambers. (FILED UNDER SEAL) (ap,) (Entered:
                              0312612010)
 03/25/2010             200   SEALED ORDER AS TO DANNY KLOT. Signed by HONORABLE
                              STEWART DALZELL on 3/25/2010. 3/26/2010 Entered and Copies
                              Mailed by Chambers. (FILED UNDER SEAL) (ap,) (Entered:
                              0312612010)
 03/3112010             201   SEALED AMENDED JUDGMENT AS TO JENNIFER
                              KHOUNSACKNARA TH. Signed by HONORABLE STEWART
                              DALZELL on 3/3112010.3/31/2010 Entered and Copies Mailed by
                              Chambers. (FILED UNDER SEAL)(ap,) (Entered: 03/31/2010)
 03/31/2010             202   SEALED AMENDED JUDGMENT AS TO DANNY KLOT. Signed
                              by HONORABLE STEWART DALZELL on 3/31/2010.3/3112010
                              Entered and Copies Mailed by Chambers. (FILED UNDER SEAL).
                              (ap,) (Entered: 03/3112010)
 04/15/2010             203   NOTICE OF HEARING as to OLUTONKUNBO EFFUNNUGA
                              Sentencing is rescheduled to 7/23/2010 at 11 :00 AM in COURTROOM
                              15-B before the HONORABLE STEWART DALZELL. (ea,) (Entered:
                              04/15/2010)
 07/15/2010             204 NOTICE OF HEARING as to OLUTONKUNBO EFFUNNUGA
                            Sentencing is rescheduled to 10/22/2010 at 9:30 AM in COURTROOM
                            15-B before the HONORABLE STEWART DALZELL. (ea,) (Entered:
                            07/15/2010)
 07/28/2010             205   NOTICE OF HEARING as to TONY NGUYEN Sentencing is
                              rescheduled to 10/15/2010 at 9:30 AM in COURTROOM 15-B before
                              the HONORABLE STEWART DALZELL. (ea,) (Entered: 07/28/2010)
 08/06/2010             206 NOTICE OF HEARING as to CHHUN PRIL A
                              Competency/Scheduling Hearing is set for 9/9/2010 at 11:00 AM in
                              COURTROOM 15-B before the HONORABLE STEWART
                              DALZELL. (ea,) (Entered: 08/06/2010)
 08/06/2010             207   ORDER AS TO CHHUN PRIL THAT BY 9/1/2010 COUNSEL
                              SHALL ADVISE THE COURT AS TO WHETHER THAT PARTY
                              CONTESTS ANY ASPECT OF THE EVALUATION OR THE
                              CERTIFICATE, AND SHALL EXPLAIN IN DETAIL THE NATURE
                              OF THAT PARTY'S OBJECTIONS; A HEARING WILL CONVENE
                              PURSUANT TO 18:4241(a) AND 4247(d) AT 11 AM ON 9/9/2010 in
                              COURTROOM 15B. Signed by HONORABLE STEWART DALZELL
                              on 8/6/2010.8/6/2010 Entered and Copies E-Mailed and Faxed by
                              Chambers. (ap,) (Entered: 08/06/2010)
 08/09/2010             208   ORDER AS TO CHHUN PRIL THAT THE WARDEN OF FCI
                              BUTNER AND THE US MARSHAL FOR THE ED OF PA
                              PRODUCE BEFORE THIS COURT THE DEFENDANT ON 9/9/2010
                              AT 11 AM BEFORE THE HONORABLE STEWART DALZELL TO
                              APPEAR FOR A COMPETENCY/SCHEDULING HERAING IN THE
                              ABOVE-CAPTIONED MATTER, AND THAT IMMEDIATELY



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           Case
United States     2:18-cv-00924-PD
              District                    Document
                       Court Eastern District         15-2 Filed 05/03/18
                                              of Pennsylvania                    Page 64 of 72 32 of 40
                                                                                         Page


                               UPON TEMRINATION OF THE SAID PROCEEDINGS, HE/SHE BE
                               DELIVERED INTO THE CUSTODY OF FCI PHILADELPHIA.
                               Signed by HONORABLE STEWART DALZELL on 8/9/2010.8/9/2010
                               Entered and Copies E-Mailed. (ap,) (Entered: 08/09/2010)
 08/12/2010             209    CERTIFICATE of Restoration of Competency to Stand Trial as to
                               CHHUN PRIL (ap,) (Entered: 08/12/2010)
 09/09/2010             210    NOTICE OF HEARING as to CHHUN PRIL A STATUS HEARING
                               IS SET FOR 10/8/2010 AT 3:00 PM IN COURTROOM 15-B BEFORE
                               THE HONORABLE STEWART DALZELL. (ea,) (Entered:
                               09/09/2010)
 09/09/2010             211    Minute Entry for proceedings held before HONORABLE STEWART
                               DALZELL: Competency Hearing as to CHHUN PRIL held on
                               91912010. The Court refers counsel to the Report received regarding the
                               Defendant's competency to proceed in this matter. Counsel address the
                               Court. The Court will defer ruling on this matter pending a status
                               hearing to be scheduled for 10/8/2010 at 3 PM. Court Reporter ESR.
                               (ap, ) (Entered: 09/09/2010)
 10/04/2010             212    AMENDED NOTICE OF HEARING as to TONY NGUYEN
                               Sentencing is rescheduled to 11/17/2010 at 9:30 AM in COURTROOM
                               15-B before the HONORABLE STEWART DALZELL. (ea,) (Entered:
                               10/04/2010)
 10/08/2010             213 NOTICE OF HEARING as to CHHUN PRIL JURY TRIAL IS SET
                            FOR 11116/2010 AT 11 :00 AM IN COURTROOM 15-B BEFORE
                            THE HONORABLE STEWART DALZELL. (ea,) (Entered:
                            10/08/2010)
 10/08/2010             214    Minute Entry for proceedings held before HONORABLE STEWART
                               DALZELL: Resumed Competency Hearing as to CHHUN PRIL held on
                               10/8/2010. Counsel address the Court. Court finds the defendant
                               competent to stand trial in this case. Trial scheduled for 11116/2010 at
                               11 am.Court Reporter ESR. (ap,) (Entered: 10/08/2010)
 10/08/2010             215    ORDER AS TO CHHUN PRIL THAT TRIAL IN THIS MATTER,
                               NOT TO EXCEED 3 DAYS FOR THE PRESENTATION OF THE
                               GOVERNMENT'S CASE-IN-CHIEF, SHALL COMMENCE AT 11
                               AM ON 11116/2010 IN COURTROOM 15B. Signed by HONORABLE
                               STEWART DALZELL on 10/8/2010.10/8/2010 Entered and Copies
                               E-Mailed. (ap,) (Entered: 10/08/2010)

                        -216
 10114/2010                    NOTICE OF HEARING as to OLUTONKUNBO EFFUNNUGA
                               Sentencing is rescheduled to 10/29/2010 at 9:30 AM in COURTROOM
                               15-B before the HONORABLE STEWART DALZELL. (ea,) (Entered:
                               10/14/2010)
 10/28/2010             217 NOTICE OF HEARING as to OLUTONKUNBO EFFUNNUGA
                            Sentencing is rescheduled to 11/30/2010 at 9:30 AM in COURTROOM
                            15-B before the HONORABLE STEWART DALZELL. (ea,) (Entered:
                            10/28/2010)



https://ecf.paed.circ3.dcn/cgi-bin/DktRpt.pl?l 0301635876322-L _ 1_0-1                        4/10/2018
           Case
United States    2:18-cv-00924-PD
              District                    Document
                       Court Eastern District         15-2 Filed 05/03/18
                                              of Pennsylvania               Page 65 of 72 33 of 40
                                                                                    Page


 11112/2010              218 NOTICE OF HEARING as to TONY NGUYEN Sentencing is
                               rescheduled to 11/17/2010 at 10:00 AM in COURTROOM 15-B before
                               the HONORABLE STEWART DALZELL. (ea,) (Entered: 11112/2010)
 11/15/2010         w 219      First Sentencing Document by TONY NGUYEN . (GOLDNER
                               CINQUANTO, CAROLINE) (Entered: 11115/2010)
 11115/2010         ~:   220 SENTENCING DOCUMENT as to TONY NGUYEN (FOULKES,
                               ANDREA) (Entered: 11115/2010)
 11115/2010              222   Sentencing Document by USA as to TONY NGUYEN, CERTIFICATE
                               OF SERVICE. (ke) (Entered: 11/16/2010)
 11116/2010              221   NOTICE OF HEARING as to CHHUN PRIL Sentencing is set for
                               2/17/2011at9:30 AM in COURTROOM 15-B before the
                               HONORABLE STEWART DALZELL. (ea,) (Entered: 11/16/2010)
 11116/2010              223   SEALED Minute Entry for proceedings held before HONORABLE
                               STEWART DALZELL as to CHHUN PRIL held on 11/16/2010. Court
                               Reporter ESR. (FILED UNDER SEAL) (ap,) (Entered: 11/17/2010)
 11116/2010              224 Plea Document as to CHHUN PRIL (ap,) (Entered: 11117/2010)
 11/16/2010              225   Plea Document BY USA as to CHHUN PRIL (ap,) (Entered:
                               11/17/2010)
 11116/2010              226 JUDICIAL DOCUMENT AS TO CHHUN PRIL. Signed by
                             HONORABLE STEWART DALZELL on 11/16/2010.11/17/2010
                             Entered and Copies Mailed by Chambers. (ap,) (Entered: 11/17/2010)
 11/17/2010              227   JUDICIAL DOCUMENT AS TO TONY NGUYEN (2). Signed by
                               HONORABLE STEWART DALZELL on 11/17/2010.11/17/2010
                               ENTERED AND COPIES MAILED BY CHAMBERS.(ap,) (Entered:
                               11/17/2010)
 11117/2010              228   SEALED Minute Entry for proceedings held before HONORABLE
                               STEWART DALZELL held on 11117/2010 for TONY NGUYEN
                               (2).Court Reporter ESR. (FILED UNDER SEAL).(ap,) (Entered:
                               11117/2010)
 11117/2010              229   SEALED JUDGMENT AS TO TONY NGUYEN (2). Signed by
                               HONORABLE STEWART DALZELL on 11117/2010.11117/2010
                               Entered and Copies Mailed by Chambers. (FILED UNDER SEAL)
                               (ap,) (Entered: 11117/2010)
 11/29/2010              230 NOTICE OF HEARING as to OLUTONKUNBO EFFUNNUGA
                               Sentencing is rescheduled to 1/20/2011 at 11 :00 AM in COURTROOM
                               15-B before the HONORABLE STEWART DALZELL. (ea,) (Entered:
                               11/29/2010)
 01118/2011              231   MOTION for Judgment and Preliminary Order of Forfeiture with
                               Certificate of Service by USA as to OLUTONKUNBO EFFUNNUGA.
                               (FOULKES, ANDREA) (Entered: 01118/2011)
 01/18/2011              232
                I

https://ecf.paed.circ3.dcn/cgi-bin/DktRpt.pl?l 0301635876322-L _ 1_0-1                   4110/2018
          Case
United States    2:18-cv-00924-PD
              District                   Document
                       Court Eastern District         15-2 Filed 05/03/18
                                              of Pennsylvania               Page 66 of 72 34of40
                                                                                    Page


                              SENTENCING DOCUMENT BY USA as to OLUTONKUNBO
                              EFFUNNUGA. CERTIFICATE OF SERVICE. (ap,) Modified on
                              1/19/2011 (ap, ). (Entered: 01/19/2011)
 01/18/2011             233   Sentencing Document by USA as to OLUTONKUNBO EFFUNNUGA.
                              CERTIFICATE OF SERVICE. (ap,) (Entered: 01/19/2011)
 01/20/2011             234 NOTICE OF HEARING as to OLUTONKUNBO EFFUNNUGA
                            Sentencing is rescheduled to 1/27/2011 at 9:30 AM in COURTROOM
                            15-B before the HONORABLE STEWART DALZELL. (ea,) (Entered:
                            01/20/2011)
 01/26/2011             235   NOTICE OF HEARING as to OLUTONKUNBO EFFUNNUGA
                              Sentencing is rescheduled to 1/28/2011 at 2:00 PM in COURTROOM
                              15-B before the HONORABLE STEWART DALZELL. (ea,) (Entered:
                              01/26/2011)
 01/28/2011             237 JUDICIAL DOCUMENT AS TO OLUTONKUNBO EFFUNNUGA
                            (3). Signed by HONORABLE STEWART DALZELL on
                            1/28/2011.1/28/2011 ENTERED AND COPIES MAILED by
                            Chambers.(ap,) (Entered: 01/28/2011)
 01/28/2011             238   SEALED ORDER AS TO OLUTONKUNBO EFFUNNUGA. Signed
                              by HONORABLE STEWART DALZELL on 1/28/2011.1/28/2011
                              Entered and Copies Mailed by Chambers. (FILED UNDER SEAL)
                              (ap,) (Entered: 01/28/2011)
 01/28/2011             239 JUDICIAL DOCUMENT AS TO OLUTONKUNBO EFFUNNUGA.
                            Signed by HONORABLE STEWART DALZELL on
                            1/28/2011.1/28/2011 Entered and Copies Mailed by Chambers. (ap, )
                            (Entered: 01/28/2011)
 01/28/2011             236   SEALED Minute Entry for proceedings held before HONORABLE
                              STEWART DALZELL as to OLUTONKUNBO EFFUNNUGA held on
                              7/15/2009. Court Reporter ESR. (FILED UNDER SEAL) (ap,)
                              Modified on 1/31/2011 (ap, ). (Entered: 01/31/2011)
 01/28/2011             240   SEALED Minute Entry for proceedings held before HONORABLE
                              STEWART DALZELL held on 1128/2011 for OLUTONKUNBO
                              EFFUNNUGA (3). Court Reporter ESR. (FILED UNDER SEAL) (ap,)
                              (Entered: 01/31/2011)
 01/28/2011             241   SEALED JUDGMENT AS TO OLUTONKUNBO EFFUNNUGA (3).
                              Signed by HONORABLE STEWART DALZELL on
                              1/28/2011.1/31/2011 Entered and Copies Mailed by Chambers. (FILED
                              UNDER SEAL) (ap,) (Entered: 01/31/2011)
 02/02/2011             242   SENTENCING DOCUMENT as to OLUTONKUNBO EFFUNNUGA.
                              CERTIFICATE OF SERVICE. (ap,) (Entered: 02/02/2011)
 02/14/2011             243   SENTENCING MEMORANDUM Certificate of Service by CHHUN
                              PRIL (Attachments:# l Exhibit A-D, # J Certificate of Service)
                              (MANCANO, JOSEPH) (Entered: 02/14/2011)




https://ecf.paed.circ3 .dcn/cgi-bin/DktRpt.pl?l 0301635876322-L _ 1_0-1                 4/10/2018
          Case
United States    2:18-cv-00924-PD
              District                   Document
                       Court Eastern District         15-2 Filed 05/03/18
                                              of Pennsylvania                  Page 67 of 72 35 of 40
                                                                                        Page


 02/16/2011                244 MOTION for Judgment and Preliminary Order of Forfeiture by USA as
                               to CHHUN PRIL, Certificate of Service. (FOULKES, ANDREA)
                               Modified on 2/17/2011 (fh) (Entered: 02/16/2011)
 02/16/2011                245   SENTENCING DOCUMENT as to CHHUN PRIL. CERTIFICATE OF
                                 SERVICE. (ap,) (Entered: 02/16/2011)
 02117/2011                246 JUDICIAL DOCUMENT AS TO CERTAIN PERSONS. Signed by
                               HONORABLE STEWART DALZELL on 2/17/2011.2/17/2011 Entered
                               and Copies Mailed by Chambers. (ap,) (Entered: 02117/2011)
 02/17/2011                247 JUDGMENT AND PRELIMINARY ORDER OF FORFEITURE AS
                               TO CHHUN PRIL. Signed by HONORABLE STEWART DALZELL
                               on 2/17/2011.2/17/2011 Entered and Copies Mailed by Chambers,
                               E-Mailed. (ap,) (Entered: 02117/2011)
 02117/2011                248   Minute Entry for proceedings held before HONORABLE STEWART
                                 DALZELL: Sentencing held on 2117/2011 for CHHUN PRIL (1), Count
                                 (s) 1, 3, IMPRISONMENT: 140 MONTHS, SUPERVISED RELEASE:
                                 6 YEARS, FINE: $2000, SPECIAL ASSESSSMENT: $200. Court
                                 Reporter ESR. (ap,) (Entered: 02117/2011)
 02117/2011                249 JUDGMENT AS TO CHHUN PRIL (1), Count(s) 1,
                               IMPRISONMENT: 140 MONTHS; Count(s) 3, IMPRISONMENT: 120
                               MONTHS (TO RUN CONCURRENTLY WITH COUNT 1);
                               SUPERVISED RELEASE: 6 YEARS, FINE: $2000, SPECIAL
                               ASSESSSMENT: $200 AS TO ALL COUNTS. Signed by
                               HONORABLE STEWART DALZELL on 2/17/2011.2117/2011 Entered
                               and Copies Mailed, E-Mailed by Chambers. (ap,) (Entered: 02/17/2011)
 02117/2011          ~I          (Court only) ***Case Terminated as to CHHUN PRIL, TONY
                                 NGUYEN, OLUTONKUNBO EFFUNNUGA, JENNIFER
                                 KHOUNSACKNARATH, DANNY KLOT (ap,) (Entered: 02/17/2011)
 02117/2011          ~Il
                                 (Court only)*** Judgment Index Record Added (afm,) (Entered:
                                 02117/2011)
 08/16/2011                250   Judgment Returned Executed as to CHHUN PRIL on 7/22/2011. (ap,)
                                 (Entered: 08/16/2011)
 01/20/2012                251   MOTION for Order AfOTION OF THE UNITED STATES FOR ENTRY
                                 OF A FINAL ORDER OF FORFEITURE, CERTIFICATE OF SERVICE
                                 by USA as to CHHUN PRIL. (Attachments: # l Exhibit 1, # ~ Exhibit
                                 2)(FOULKES, ANDREA) (Entered: 01/20/2012)
 01/20/2012                252   MOTION for Order MOTION OF THE UNITED STATES FOR ENTRY
                                 OF A FINAL ORDER OF FOKFEITURE, CERTIFICATE OF SERVICE
                                 by USA as to DANNY KLOT. (Attachments: # l Exhibit 1, #~Exhibit
                                 2)(FOULKES, ANDREA) (Entered: 01/20/2012)
 01/20/2012                253   MOTION for Order MOTION OF THE UNITED STATES FOR ENTRY
                                 OF A FINAL ORDER OF FORFEITURE, CERTIFICATE OF SERVICE
                                 by USA as to OLUTONKUNBO EFFUNNUGA. (Attachments: # l
                                 Exhibit !)(FOULKES, ANDREA) (Entered: 01/20/2012)


https://ecf.paed.circ3.dcn/cgi-bin/DktRpt.pl?l 0301635876322-L _ 1_0-1                      4110/2018
          Case
United States    2:18-cv-00924-PD
              District                   Document
                       Court Eastern District         15-2 Filed 05/03/18
                                              of Pennsylvania               Page 68 of 72 36 of 40
                                                                                    Page
                                                                                           ,..;;.....·



 01/23/2012             254   JUDGMENT AND FINAL ORDER OF FORFEITURE AS TO
                              CHHUN PRIL. Signed by HONORABLE STEWART DALZELL on
                              1/23/2012.1/23/2012 Entered and Copies E-Mailed. (ap,) (Entered:
                              01/23/2012)
 01127/2012             255   JUDGMENT AND FINAL ORDER OF FORFEITURE AS TO
                              OLUTONKUNBO EFFUNNUGA. Signed by HONORABLE
                              STEWART DALZELL on 1127/2012.1/27/2012 Entered and Copies
                              E-Mailed. (ap,) (Entered: 01127/2012)
 01/27/2012             256   JUDGMENT AND FINAL ORDER OF FORFEITURE AS TO
                              DANNY KLOT. Signed by HONORABLE STEWART DALZELL on
                              1/27/2012.1/27/2012 Entered and Copies E-Mailed. (ap,) (Entered:
                              01/27/2012)
 10/02/2013             257   REQUEST AND ORDER FOR MODIFYING THE CONDITIONS OR
                              TERM OF SUPERVISION WITH THE CONSENT OF THE
                              OFFENDER AS TO OLUTONKUNBO EFFUNNUGA. Signed by
                              HONORABLE STEWART DALZELL on 10/2/2013.10/2/2013 Entered
                              and Copies E-Mailed. (ap,) (Entered: 10/02/2013)
 04/0112015      w      25~   CJA 23 Financial Affidavit by CHHUN PRIL (tomg,) (Entered:
                              0410212015)
 04/01/2015             259   ORDER AS TO CHHUN PRIL (1) THAT THE TERM OF
                              IMPRISONMENT IN THIS CASE IS REDUCED TO 135 MONTHS,
                              EFFECTIVE 1111/2015. Signed by HONORABLE STEWART
                              DALZELL on 4/112015.4/2/2015 Entered and Copies E-Mailed AND
                              CC USM BY CHAMBERS. (tomg,) Modified on 4/2/2015 (tomg, ).
                              (Entered: 04/02/2015)
 12/17/2015             260   Praecipe to Satisfy Judgment by USA as to OLUTONKUNBO
                              EFFUNNUGA (kk,) (Entered: 12/18/2015)
 01115/2016      w      261   CJA 23 Financial Affidavit by TONY NGUYEN (kk,) (Entered:
                              01/19/2016)
 01/15/2016             262 ORDER REDUCING SENTENCE RE: 782 AMENDMENT AS TO
                              TONY NGUYEN THAT THE TERM OF IMPRISONMENT IN THIS
                              CASE IS REDUCED TO 108 MONTHS EFFECTIVE 1111/2015, AND
                              AND ALL PENDING PRO SE MOTIONS RELATED TO
                              AMENDMENT 782 ARE MOOT AND HEREBY DISMISSED.
                              Signed by HONORABLE STEWART DALZELL on
                              1115/2016.1/19/2016 Entered and Copies E-Mailed. (kk,) (Entered:
                              01119/2016)
 03/16/2016             263   REPORT AND ORDER OF PROBATION OFFICER AS TO
                              OLUTONKUNBO EFFUNNUGA THE ISSUANCE OF A SUMMONS
                              DIRECTING THE NAMED SUPERVISED RELEASEE TO APPEAR
                              AT A REVOCATION HEARING. Signed by HONORABLE
                              STEWART DALZELL on 3/16/2016.3/16/2016 Entered and Copies
                              E-Mailed. (ap,) (Entered: 03/16/2016)




https://ecf.paed.circ3 .dcn/cgi-bin/DktRpt.pl 710301635876322-L _ 1_0-1                 4/10/2018
           Case
United States    2:18-cv-00924-PD
              District                    Document
                       Court Eastern District         15-2 Filed 05/03/18
                                              of Pennsylvania                 Page 69 of 72 37 of 40
                                                                                      Page


 05/05/2016             264 ORDER REASSIGNING CASE. CASE REASSIGNED TO JUDGE
                              HONORABLE PAUL S. DIAMOND as to CHHUN PRIL, TONY
                              NGUYEN, OLUTONKUNBO EFFUNNUGA, JENNIFER
                              KHOUNSACKNARA TH, DANNY KLOT FOR ALL FURTHER
                              PROCEEDINGS. JUDGE HONORABLE STEWART DALZELL NO
                              LONGER ASSIGNED TO CASE. Signed by CHIEF JUDGE
                              PETRESE B. TUCKER on 5/5/16.5/5/16 Entered and Copies E-Mailed.
                              (eibo,) (Entered: 05/05/2016)
 05117/2016             265   ORDER AS TO OLUTONKUNBO EFFUNNUGA THAT PAUL J.
                              HETZNECKER,ESQUIRE, IS APPOINTED TO REPRESENT THE
                              ABOVE-NAMED DEFENDANT IN HIS VIOLATION MATTER
                              PURSUANT TO THE CRIMINAL JUSTICE ACT. Signed by
                              HONORABLE PAULS. DIAMOND on 5116/2016.5/17/2016 Entered
                              and Copies E-Mailed. (kk,) (Entered: 05117/2016)
 05/18/2016             266 NOTICE OF HEARING as to OLUTONKUNBO EFFUNNUGA
                            Hearing re Revocation of Supervised Release set for 5/19/2016 has been
                            postponed until 6/29/2016 at 2:00 PM before HONORABLE PAULS.
                            DIAMOND. (lk,) (Entered: 05/18/2016)
 05/18/2016             267 Letter as to OLUTONKUNBO EFFUNNUGA dated 5/18/2016 (kk,)
                              (Entered: 05/18/2016)
 06/10/2016             268   NOTICE OF HEARING as to OLUTONKUNBO EFFUNNUGA
                              Hearing re Revocation of Supervised Release set for 6/29/2016 WILL
                              NOW TAKE PLACE AT 9:30 AM before HONORABLE PAULS.
                              DIAMOND. (lk,) (Entered: 06/10/2016)
 06/28/2016             269 NOTICE OF HEARING as to OLUTONKUNBO EFFUNNUGA
                              Hearing re Revocation of Supervised Release set for 6/29/2016 has been
                              postponed until 8/3/2016 at 2:00 PM before HONORABLE PAULS.
                              DIAMOND. (lk,) (Entered: 06/28/2016)
 08/02/2016             270   (PRO SE)Letter as to OLUTONKUNBO EFFUNNUGA dated
                              7/29/2016 (kk,) (Entered: 08/02/2016)
 08/02/2016             271   NOTICE OF HEARING as to OLUTONKUNBO EFFUNNUGA
                              Hearing re Revocation of Supervised Release set for 8/3/2016 has been
                              postponed until 8/30/2016 at 11 :00 AM before HONORABLE PAULS.
                              DIAMOND. (lk,) (Entered: 08/02/2016)
 08/23/2016             272   NOTICE OF HEARING as to OLUTONKUNBO EFFUNNUGA
                              Hearing re Revocation of Supervised Release set for 8/30/2016 HAS
                              BEEN POSTPONED UNTIL 10/12/2016 at 2:00 PM before
                              HONORABLE PAULS. DIAMOND. (lk,) (Entered: 08/23/2016)
 10/12/2016             273   NOTICE OF HEARING as to OLUTONKUNBO EFFUNNUGA
                              Hearing re Revocation of Supervised Release set for 10/12/2016 has
                              been postponed until 11/2/2016 at 9:30 AM before HONORABLE
                              PAULS. DIAMOND. (lk,) (Entered: 10/12/2016)
 10/31/2016             274



https://ecf.paed.circ3 .dcn/cgi-bin/DktRpt.pl?l 0301635876322-L _ 1_0-1                     4110/2018
           Case
United States    2:18-cv-00924-PD
              District                   Document
                       Court Eastern District         15-2 Filed 05/03/18
                                              of Pennsylvania                  Page 70 of 72 38 of 40
                                                                                       Page


                              NOTICE OF HEARING as to OLUTONKUNBO EFFUNNUGA
                              Hearing re Revocation of Supervised Release set for 11/17/2016 at 9:30
                              AM before HONORABLE PAUL S. DIAMOND. This hearing will be
                              conducted as a status hearing.(lk, ) (Entered: 10/3112016)
 11104/2016             275   NOTICE OF HEARING as to OLUTONKUNBO EFFUNNUGA
                              Hearing re Revocation of Supervised Release set for 11 /17/2016 has
                              been postponed until 1211/2016 at 2:00 PM before HONORABLE
                              PAULS. DIAMOND. (lk,) (Entered: 11/04/2016)
 11/30/2016             276   NOTICE OF HEARING as to OLUTONKUNBO EFFUNNUGA
                              STATUS CONFERENCE SET FOR 12/112016 is postponed until
                              1125/2017 at 11 :00 AM BEFORE HONORABLE PAULS.
                              DIAMOND. (lk,) (Entered: 11/30/2016)
 12119/2016             277   NOTICE OF HEARING as to OLUTONKUNBO EFFUNNUGA
                              Hearing re Revocation of Supervised Release set for 1125/ 2017 has
                              been postponed until 1130/2017 at 2:00 PM before HONORABLE
                              PAULS. DIAMOND. (lk,) (Entered: 12/19/2016)
 01/26/2017             278   NOTICE OF HEARING as to OLUTONKUNBO EFFUNNUGA
                              Hearing re Revocation of Supervised Release set for 1/30/2017 has been
                              postponed until 4/6/2017 at 11 :00 AM before HONORABLE PAUL S.
                              DIAMOND. (lk,) (Entered: 01/26/2017)
 01/26/2017             279_ ORDER AS TO OLUTONKUNBO EFFUNNUGA THAT THE
                             WARDEN OF CFCF AND THE UNITED STATES MARSHAL FOR
                             THE EASTERN DISTRICT OF PENNSYLVANIA PRODUCE
                             BEFORE THIS COURT THE BODY OF OLUTONKUNBO
                             EFFUNNUGA ON APRIL 6, 2017ATl 1:00 A.M. BEFORE THE
                             HONORABLE PAUL S. DIAMOND TO APPEAR FOR A
                             VIOLATION OF SUPERVISED RELEASE HEARING IN THE
                             ABOVE- CAPTIONED MATTER. Signed by HONORABLE PAULS.
                             DIAMOND on 1/26/2017.1/27/2017 Entered and Copies E-Mailed.
                             (kk,) (Entered: 01127/2017)
 04/05/2017             280   NOTICE OF HEARING as to OLUTONKUNBO EFFUNNUGA
                              Hearing re Revocation of Supervised Release/Status is set for 5/3112017
                              at 9:30 AM before HONORABLE PAULS. DIAMOND. Courtroom
                              14A.(lk,) (Entered: 04/05/2017)
 04/06/2017             281   ORDER AS TO OLUTONKUNBO EFFUNNUGA THAT THE
                              WARDEN OF CFCF AND THE UNITED STATES MARSHAL FOR
                              THE EASTERN DISTRICT OF PENNSYLVANIA PRODUCE
                              BEFORE THIS COURT THE BODY OF OLUTONKUNBO
                              EFFUNNUGA ON MAY 31, 2017 AT 9:30 A.M. IN COURTROOM
                              14A BEFORE THE HONORABLE PAULS. DIAMOND TO APPEAR
                              FOR A VIOLATION OF SUPERVISED RELEASE HEARING, ETC.
                              Signed by HONORABLE PAULS. DIAMOND on 4/5/2017.4/6/2017
                              Entered and Copies E-Mailed. (kk,) (Entered: 04/06/2017)
 05/30/2017             282



https://ecf.paed.circ3 .dcn/cgi-bin/DktRpt.pl?l 0301635876322-L _ 1_0-1                      4/10/2018
           Case
United States    2:18-cv-00924-PD
              District                    Document
                       Court Eastern District         15-2 Filed 05/03/18
                                              of Pennsylvania                 Page 71 of 72 39 of 40
                                                                                      Page


                             NOTICE OF HEARING as to OLUTONKUNBO EFFUNNUGA
                             Sentencing set for 5/3112017 has been postponed until 91712017 at 2:00
                             PM before HONORABLE PAUL S. DIAMOND. (lk, ) (Entered:
                             05/30/2017)
 07/2112017            283   ORDER AS TO OLUTONKUNBO EFFUNNUGA THAT THE
                             PARTIES SHALL BRIEF WHETHER I HAVE SUBJECT-MATTER
                             JURISDICTION OVER THE MARCH 16, 2016 VIOLATION OF
                             SUPERVISED RELEASE PETITION. THE GOVERNMENT AND
                             PROBATION SHALL FILE SIMULTANEOUSLY INDIVIDUAL
                             BRIEFS NO LATER THAN JULY 28, 2017, ETC. Signed by
                             HONORABLE PAULS. DIAMOND on 7/21/2017.7/2112017 Entered
                             and Copies E-Mailed. (kk, ) (Entered: 07/2112017)
 07/2112017            284   (PRO SE) Letter as to OLUTONKUNBO EFFUNNUGA DATED
                             4/20/201 7 (kk, ) (Entered: 07/24/2017)
 07/24/2017            285   ORDER AS TO OLUTONKUNBO EFFUNNUGA THAT THE
                             DEADLINES SET FORTH IN MY 7/21/2017 ORDER 283 ARE
                             AMENDED AS FOLLOWS: THE GOVERNMENT AND
                             PROBATION SHALL FILE SIMULTANEOUSLY INDIVIDUAL
                             BRIEFS NO LATER THAN AUGUST 4, 2017, ETC. Signed by
                             HONORABLE PAULS. DIAMOND on 7/24/2017.7/25/2017 Entered
                             and Copies E-Mailed. (kk,) (Entered: 07/25/2017)
 08/08/2017            286 Response by USA as to OLUTONKUNBO EFFUNNUGA re 285
                           Order, GOVERNMENT'S RESPONSE REGARDING VOSR
                           JURISDICTION, WITH CERTJJ?ICATE OF SERVICE (Attachments: #
                           l "A")(FOULKES, ANDREA) (Entered: 08/08/2017)
 08/10/2017            287 LETTER FROM U.S. PROBATION OFFICE DATED 8/9/2017 as to
                           OLUTONKUNBO EFFUNNUGA (kk,) (Entered: 08/10/2017)
 08/10/2017            288   Response by OLUTONKUNBO EFFUNNUGA as to USA RE: 286
                             Response Regarding VOSR Jurisdiction, CERTIFICATE OF
                             SERVICE. (Attachments:# l Exhibit)(HETZNECKER, PAUL)
                             Modified on 8/1112017 (afm, ). (Entered: 08/10/2017)
 08/28/2017            289 NOTICE OF HEARING as to OLUTONKUNBO EFFUNNUGA
                           STA TUS CONFERENCE SET FOR 91712017 has been postponed until
                           10/4/2017 at 2:00 PM BEFORE HONORABLE PAULS. DIAMOND.
                           (lk,) (Entered: 08/28/2017)
 09/07/2017            290   ORDER AS TO OLUTONKUNBO EFFUNNUGA THAT BECAUSE
                             THE MAY 18TH NOTICE CONSTITUTES A TIMELY WARRANT
                             OR SUMMONS UNDER 18 U.S.C. § 3583(I), THIS COURT HAS
                             SUBJECT-MATTER JURISDICTION TO CONSIDER
                             DEFENDANTS SUPERVISED RELEASE VIOLATION. Signed by
                             HONORABLE PAULS. DIAMOND on 917/2017.9/8/2017 Entered and
                             Copies E-Mailed. (kk,) (Entered: 09/08/2017)
 09/22/2017            291   Letter as to OLUTONKUNBO EFFUNNUGA DATED 9/2112017 (kk,)
                             (Entered: 09/22/2017)



https://ecf.paed.circ3.dcn/cgi-bin/DktRpt.pl?l 0301635876322-L_ 1_0-1                       4/10/2018
           Case
United States    2:18-cv-00924-PD
              District                   Document
                       Court Eastern District         15-2 Filed 05/03/18
                                              of Pennsylvania                 Page 72 of 72
                                                                                      Page 40 of 40


 10/03/2017             292 NOTICE OF HEARING as to OLUTONKUNBO EFFUNNUGA
                            STA TUS CONFERENCE SET FOR 10/4/2017 has been postponed
                            until 11/1/2017 at 11 :00 AM BEFORE HONORABLE PAUL S.
                            DIAMOND. (lk,) (Entered: 10/03/2017)
 11/14/2017             293   NOTICE OF HEARING as to OLUTONKUNBO EFFUNNUGA
                              Hearing re Revocation of Supervised Release set for 11/1/2017 has been
                              postponed to 1/24/2018 at 2:00 PM before HONORABLE PAULS.
                              DIAMOND. (lk,) (Entered: 11/14/2017)
 12/28/2017             294   WRIT OF 4/5/2017 RETURNED EXECUTED as to OLUTONKUNBO
                              EFFUNNUGA ON 5/24/2017. (kk,) (Entered: 12/28/2017)
 01/24/2018
                 ~      695   Minute Entry for proceedings held before HONORABLE PAUL S.
                              DIAMOND RE: VIOLATION OF SUPERVISED RELEASE as to
                              OLUTONKlJNBO EFFUNNUGA held on 1/24/2018. DEFT SWORN.
                              DEFT STIPULATES TO THE VIOLATION. COURT SENTENCES
                              DEFT TO BOP FOR A TERM OF 13 MONTHS WITH NO TERM OF
                              SUPERVISION TO FOLLOW. Court Reporter B. JOHNSON.(kk,)
                              (Entered: 01/25/2018)
 01/25/2018             296   ORDER AS TO OLUTONKUNBO EFFUNNUGA THAT THE
                              DEFENDANT HAS VIOLATED THE TERMS OF HIS SUPERVISED
                              RELEASE AND THE DEFENDANTS SUPERVISED RELEASE IS
                              HEREBY REVOKED AS FOLLOWS: THE DEFENDANT IS
                              REMANDED TO THE CUSTODY OF THE BUREAU OF PRISONS
                              TO BE INCARCERATED FOR THIRTEEN (13) MONTHS, WITH
                              NO TERM OF SUPERVISED RELEASE TO FOLLOW. Signed by
                              HONORABLE PAULS. DIAMOND on 1/24/2018.1/25/2018 Entered
                              and Copies E-Mailed. (kk,) (Entered: 01/25/2018)
 02/05/2018             297   (PRO SE) Letter as to OLUTONKUNBO EFFUNNUGA dated
                              1/30/2018. (ems) (Entered: 02/05/2018)




https://ecf.paed.circ3 .dcn/cgi-bin/DktRpt.pl?l 0301635876322-L _ 1_0-1                     4/10/2018
